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                                             UNITED STATES BANKRUPTCY COURT
                                              NORTHERN DISTRICT OF GEORGIA
                                                    GAINESVILLE DIVISION

       In re: CLARKESVILLE LIQUIDATION INC.                  §      Case No. 11-21650-JRS
                                                             §
                                                             §
                                                             §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              S. Gregory Hays, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $20,163,122.23                          Assets Exempt: N/A
      (without deducting any secured claims)

      Total Distributions to Claimants:     $266,716.62            Claims Discharged
                                                                   Without Payment: N/A


      Total Expenses of Administration:      $3,661,105.06




                3) Total gross receipts of $3,927,821.68 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $0.00 (see Exhibit 2), yielded net receipts of $3,927,821.68 from the liquidation of the property of the
      estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS               CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                PAID


   SECURED CLAIMS (from
   Exhibit 3)                                $185,224,473.20           $40,135.42            $2,117.13                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00        $1,270,042.63        $1,270,042.63         $1,270,042.63


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00        $6,137,014.30        $2,391,062.43         $2,391,062.43

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00          $180,333.55           $61,428.86           $61,428.86

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                           $64,818,106.54       $42,060,166.22       $29,721,720.21          $205,287.76


   TOTAL DISBURSEMENTS                       $250,042,579.74       $49,687,692.12       $33,446,371.26         $3,927,821.68




              4) This case was originally filed under chapter 11 on 04/19/2011, and it was converted to chapter 7 on
      07/12/2011. The case was pending for 83 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        05/18/2018                        By: /s/ S. Gregory Hays
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                 $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1              RECEIVED

 Prepayments - Various Ins policies, Claims, etc                                                1129-000                   $140,632.57

 Asset Purchase Adjustments/Settlement                                                          1129-000                  $2,361,767.26

 Checking Savings & Other Accounts                                                              1129-000                    $95,872.85

 Insurance Broker Settlement                                                                    1290-000                       $687.16

 Tax Refunds                                                                                    1224-000                     $1,526.56

 Unclaimed Property - State of Virginia                                                         1229-000                     $7,399.61

 INTEREST (u)                                                                                   1270-000                         $2.50

 Preference Period Payments                                                                     1141-000                  $1,319,933.17

                             TOTAL GROSS RECEIPTS                                                                         $3,927,821.68

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM        $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE         PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                     UNIFORM        CLAIMS
   Claim                                                            CLAIMS        CLAIMS           CLAIMS
              CLAIMANT                TRAN.       SCHEDULED
    NO.                                                            ASSERTED      ALLOWED            PAID
                                      CODE      (from Form 6D)


     1       Ally Financial          4210-000             $0.00      $1,772.98     $1,772.98         $0.00

     2       Uvalde County           4700-000             $0.00        $64.89        $64.89          $0.00
             Appraisal District
     8-1     Los Angeles County      4800-000             $0.00          $0.00        $0.00          $0.00
             Treasurer and
     9       Ally Financial FKA      4210-000             $0.00          $0.00        $0.00          $0.00
             GMAC
    10-1     Wells Fargo Equipment   4210-000             $0.00          $0.00        $0.00          $0.00
             Financial Leasing
     25      Canon Financial         4210-000             $0.00     $18,867.81        $0.00          $0.00
             Services Inc
    27S      Internal Revenue        4300-000             $0.00     $17,522.96        $0.00          $0.00
             Service
     29      Broward County          4700-000             $0.00        $93.79        $93.79          $0.00
             Records, Taxes & Tre
     42      City of El Paso         4800-000             $0.00       $413.61         $0.00          $0.00

     43      Bexar County            4800-000             $0.00      $1,112.69        $0.00          $0.00

    44S      S.C. Department of      4800-000             $0.00        $50.61         $0.00          $0.00
             Revenue
    47S      S.C. Department of      4800-000             $0.00        $50.61         $0.00          $0.00
             Revenue
     59      US Bank NA dba US       4210-000             $0.00          $0.00        $0.00          $0.00
             Bank Equipment
             Finance
    82S      S.C. Department of      4800-000             $0.00          $0.00        $0.00          $0.00
             Revenue
    82S-2    S.C. Department of      4800-000             $0.00        $90.81        $90.81          $0.00
             Revenue
    123      Revenue Comm.           4800-000             $0.00        $28.56        $28.56          $0.00
             Morgan County
    179      Lavaca County           4800-000             $0.00        $66.10        $66.10          $0.00

    N/F      DE LAGE LANDEN          4210-000          $4,089.67           NA              NA          NA
             FINANCIAL SVC FKA
             TOKAI FINANCIAL
    N/F      GENERAL ELECTRIC        4210-000     $13,658,126.61           NA              NA          NA
             CAPITAL
             CORPORATION, AS
             AGENT/SUZ
    N/F      GENERAL ELECTRIC        4210-000      $2,114,040.70           NA              NA          NA
             CAPITAL
             CORPORATION, AS
             AGENT/SUZ


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    N/F     GENERAL ELECTRIC       4210-000     $10,575,342.47          NA               NA        NA
            CAPITAL
            CORPORATION, AS
            AGENT/SUZ
    N/F     GSCP RECOVERY,         4210-000    $158,855,000.00          NA               NA        NA
            INC., AS
            AGENT/PETER
            FRANK
    N/F     INTERNAL REVENUE       4300-000         $12,962.43          NA               NA        NA
            SERVICE
    N/F     MACHINERY              4210-000              $0.00          NA               NA        NA
            FINANCE
            RESOURCES,
            LLC/JOHN
            FITZGERALD,
    N/F     NEC FINANCIAL          4210-000          $2,074.74          NA               NA        NA
            SERVICES, LLC
    N/F     NORTH STAR             4210-000              $0.00          NA               NA        NA
            LEASING COMPANY
    N/F     WELLS FARGO            4210-000          $2,836.58          NA               NA        NA
            BANK, N A

              TOTAL SECURED                    $185,224,473.20   $40,135.42      $2,117.13       $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM       CLAIMS          CLAIMS           CLAIMS               CLAIMS
   PAYEE                                TRAN.      SCHEDULED        ASSERTED         ALLOWED                PAID
                                        CODE

 Trustee, Fees - S. Gregory Hays       2100-000              NA      $141,084.65     $141,084.65        $141,084.65

 Trustee, Expenses - S. Gregory        2200-000              NA        $6,516.64       $6,516.64          $6,516.64
 Hays
 Accountant for Trustee, Fees - Hays   3310-000              NA      $361,490.75     $361,490.75        $361,490.75
 Financial Consulting, LLC
 Accountant for Trustee, Expenses -    3320-000              NA        $5,958.28       $5,958.28          $5,958.28
 Hays Financial Consulting, LLC
 Charges, U.S. Bankruptcy Court        2700-000              NA       $17,287.00      $17,287.00         $17,287.00

 Fees, United States Trustee           2950-000              NA       $32,925.00      $32,925.00         $32,925.00

 Banking and Technology Service        2600-000              NA       $37,154.43      $37,154.43         $37,154.43
 Fee - Rabobank, N.A.
 Banking and Technology Service        2600-000              NA       $10,154.40      $10,154.40         $10,154.40
 Fee - The Bank of New York Mellon
 Other Chapter 7 Administrative        2990-000              NA       $24,703.50      $24,703.50         $24,703.50
 Expenses - General Electric Capital
 Corporation
 Other Chapter 7 Administrative        2990-000              NA       $20,998.15      $20,998.15         $20,998.15
 Expenses - Global SFI Holdings
 LLC
 Other Chapter 7 Administrative        2990-000              NA          $573.36         $573.36            $573.36
 Expenses - Merrill Communications
 LLC
 Attorney for Trustee Fees (Other      3210-000              NA       $29,037.50      $29,037.50         $29,037.50
 Firm) - Stites & Harbison, PLLC
 Attorney for Trustee Fees (Other      3210-000              NA      $546,879.50     $546,879.50        $546,879.50
 Firm) - Greenberg Traurig, LLP
 Attorney for Trustee Fees (Other      3210-000              NA       $14,505.50      $14,505.50         $14,505.50
 Firm) - Morris, Manning & Martin
 LLP
 Attorney for Trustee Expenses         3220-000              NA          $425.09         $425.09            $425.09
 (Other Firm) - Stites & Harbison,
 PLLC
 Attorney for Trustee Expenses         3220-000              NA       $15,017.88      $15,017.88         $15,017.88
 (Other Firm) - Greenberg Traurig,
 LLP
 Attorney for Trustee Expenses         3220-000              NA           $12.25          $12.25             $12.25
 (Other Firm) - Morris, Manning &
 Martin LLP
 Consultant for Trustee Fees -         3731-000              NA        $3,012.50       $3,012.50          $3,012.50
 Mitchell R Setzer
 Consultant for Trustee Fees -         3731-000              NA        $2,306.25       $2,306.25          $2,306.25
 Mitchell R. Setzer
 TOTAL CHAPTER 7 ADMIN. FEES
                                                             NA     $1,270,042.63   $1,270,042.63      $1,270,042.63
        AND CHARGES
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EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM
                                                     CLAIMS         CLAIMS          CLAIMS           CLAIMS
   PAYEE                                TRAN.
                                                   SCHEDULED       ASSERTED        ALLOWED            PAID
                                        CODE

 Other Prior Chapter Administrative    6990-000             NA        $2,632.00      $2,632.00         $2,632.00
 Expenses - ATS Tech Solution Inc.
 Other Prior Chapter Professional      6700-000             NA       -$17,327.69    -$17,327.69      -$17,327.69
 Fees - BMC Group Inc.
 Other Prior Chapter Professional      6700-000             NA       $17,327.69     $17,327.69        $17,327.69
 Fees - BMC Group, Inc.
 Other Prior Chapter Administrative    6990-000             NA          $682.00        $682.00          $682.00
 Expenses - CIT Technology
 Financing Services, Inc.
 Other Prior Chapter Administrative    6990-000             NA        $2,010.00      $2,010.00         $2,010.00
 Expenses - Canon Financial
 Services, Inc.
 Other Prior Chapter Administrative    6990-000             NA        $1,648.00      $1,648.00         $1,648.00
 Expenses - DeLage Landen
 Financial Services, Inc.
 Other Prior Chapter Administrative    6990-000             NA        $6,944.22      $6,944.22         $6,944.22
 Expenses - FPC Funding,
 LLC/Security Depot Inc.
 Other Prior Chapter Administrative    6990-000             NA      $767,000.00    $767,000.00       $767,000.00
 Expenses - GSG Fasteners LLC
 Other Prior Chapter Administrative    6990-000             NA        $1,631.50      $1,631.50         $1,631.50
 Expenses - Janpak Inc
 Other Prior Chapter Administrative    6990-000             NA        $2,616.00      $2,616.00         $2,616.00
 Expenses - MFM Properties, LLC
 Other Prior Chapter Administrative    6990-000             NA        $3,570.00      $3,570.00         $3,570.00
 Expenses - Machinery Finance
 Resources
 Other Prior Chapter Administrative    6990-000             NA        $1,481.00      $1,481.00         $1,481.00
 Expenses - Manufacturer Services
 Group
 Other Prior Chapter Administrative    6990-000             NA        $4,150.00      $4,150.00         $4,150.00
 Expenses - NEC Financial
 Services, LLC
 Other Prior Chapter Administrative    6990-000             NA        $2,904.00      $2,904.00         $2,904.00
 Expenses - Pitney Bowes Global
 Financial Services
 Other Prior Chapter Administrative    6990-000             NA       $12,613.84          $0.00             $0.00
 Expenses - North Star Leasing
 Other Prior Chapter Administrative    6990-000             NA        $2,820.50          $0.00             $0.00
 Expenses - Pinehurst Tool and Die
 Other Prior Chapter Administrative    6990-000             NA        $1,100.00          $0.00             $0.00
 Expenses - Capital Data Service Inc

 Other Prior Chapter Administrative    6990-000             NA       $34,407.44     $21,807.44        $21,807.44
 Expenses - Metal Chem Inc


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 Prior Chapter Trade Debt -            6910-000            $0.00          $0.00         $0.00          $0.00
 Chadash Wood Products
 Prior Chapter Trade Debt - McKee      6910-000            $0.00          $0.00         $0.00          $0.00
 Button Company Inc
 Other Prior Chapter Administrative    6990-000              NA       $1,254.26       $618.26        $618.26
 Expenses - Master Tool and Mold
 Inc
 Prior Chapter Other State or Local    6820-000              NA       $5,735.62      $2,867.81      $2,867.81
 Taxes - Texas Comptroller of
 Public Accounts
 Other Prior Chapter Administrative    6990-000              NA         $790.00       $790.00        $790.00
 Expenses - Shields, Thomas A
 Other Prior Chapter Administrative    6990-001              NA         $362.70       $362.70        $362.70
 Expenses - Clerk, United States
 Bankkruptcy Court -
 Anderson, Madeleine T
 Other Prior Chapter Administrative    6990-001              NA         $302.02       $302.02        $302.02
 Expenses - Clerk, United States
 Bankkruptcy Court -
 DeBlasio, Carmen
 Other Prior Chapter Administrative    6990-000              NA         $395.00       $395.00        $395.00
 Expenses - AuCoin, Tena M
 Other Prior Chapter Administrative    6990-000              NA         $357.46       $357.46        $357.46
 Expenses - McKee Button
 Company Inc
 Other Prior Chapter Administrative    6990-000              NA         $395.00       $395.00        $395.00
 Expenses - Lovelace, Eula C.
 Other Prior Chapter Administrative    6990-001              NA         $395.00       $395.00        $395.00
 Expenses - Clerk, United States
 Bankkruptcy Court -
 Mango, Paulette A
 Prior Chapter Other State or Local    6820-000              NA         $300.00       $300.00        $300.00
 Taxes - State of Connecticut
 Other Prior Chapter Administrative    6990-000              NA          $53.64        $53.64         $53.64
 Expenses - United States Plastic
 Corp
 Other Prior Chapter Administrative    6990-000              NA         $264.96       $264.96        $264.96
 Expenses - Ray Camp Company
 Prior Chapter Other State or Local    6820-001              NA          $36.40        $36.40         $36.40
 Taxes - Clerk, United States
 Bankkruptcy Court -
 Greenville County Tax Collect
 Prior Chapter Other State or Local    6820-000              NA          $44.00        $44.00         $44.00
 Taxes - Franklin County Trustee
 Other Prior Chapter Professional      6700-000            $0.00          $0.00         $0.00          $0.00
 Fees - BMC Group, Inc.
 (ADMINISTRATIVE)
 Prior Chapter Other State or Local    6820-000              NA       $1,667.38      $1,667.38      $1,667.38
 Taxes - Indiana Department of
 Revenue
 Other Prior Chapter Administrative    6990-000            $0.00   $3,713,313.72        $0.00          $0.00
 Expenses - General Electric Capital
 Corp



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 Other Prior Chapter Administrative   6990-000              NA         $575.00         $575.00            $575.00
 Expenses - Chadash Wood
 Products
 Prior Chapter Other State or Local   6820-000              NA          $72.21          $72.21             $72.21
 Taxes - Iredell County Tax
 Collector
 Other Prior Chapter Administrative   6990-000            $0.00          $0.00           $0.00              $0.00
 Expenses - Global SFI Holdings,
 LLC and (ADMINISTRATIVE)
 Prior Chapter Other State or Local   6820-000              NA         $293.07         $293.07            $293.07
 Taxes - Wake County Revenue
 Department
 Prior Chapter Other State or Local   6820-000            $0.00     $13,508.28      $13,508.28         $13,508.28
 Taxes - GEORGIA DEPARTMENT
 OF REVENUE
 Other Prior Chapter Professional     6700-000              NA      $79,868.46      $79,868.46         $79,868.46
 Fees - BMC Group
 Financial Consultant Fees (Chapter   6700-420              NA     $829,250.00     $829,250.00        $829,250.00
 11) - Carl Marks Advisory Group
 LLC
 Financial Consultant Expenses        6710-430              NA       $6,828.11       $6,828.11          $6,828.11
 (Chapter 11) - Carl Marks Advisory
 Group LLC
 Attorney for D-I-P Fees - Alston &   6210-160              NA     $362,978.50     $362,978.50        $362,978.50
 Bird LLP
 Attorney for D-I-P Expenses -        6220-170              NA      $87,021.50      $87,021.50         $87,021.50
 Alston & Bird LLP
 Attorney for Creditor's Committee    6700-140              NA     $177,909.25     $177,909.25        $177,909.25
 Fees (Chapter 11) - Greenberg
 Traurig, LLP
 Attorney for Creditor's Committee    6710-150              NA       $4,832.26       $4,832.26          $4,832.26
 Expenses (Chapter 11) - Greenberg
 Traurig, LLP
 TOTAL PRIOR CHAPTER ADMIN.
                                                          $0.00   $6,137,014.30   $2,391,062.43      $2,391,062.43
     FEES AND CHARGES




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                       CLAIMS
                                      UNIFORM        CLAIMS
                                                                      ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.        CLAIMANT             TRAN.      SCHEDULED
                                                                   (from Proofs of    ALLOWED           PAID
                                       CODE      (from Form 6E)
                                                                        Claim)

     12      Clerk, United States     5800-001             $0.00              $1.00       $1.00           $1.00
             Bankruptcy Court -
             Fulton County Tax
             Commissioner

    19P      Indiana Department of    5800-000             $0.00         $11,369.59       $0.00           $0.00
             Revenue

    21P      Mississippi Department   5800-000             $0.00          $1,439.30    $1,439.30       $1,439.30
             of Revenue

    27P      Internal Revenue         5800-000             $0.00         $80,020.54       $0.00           $0.00
             Service

    30P      Mississippi Department   5800-000             $0.00          $1,439.30       $0.00           $0.00
             of Revenue

    44P      S.C. Department of       5800-000             $0.00            $248.06       $0.00           $0.00
             Revenue

    45P      Tennessee                5800-000             $0.00              $0.00       $0.00           $0.00
             Department of
             Revenue

    46P      Oklahoma Tax             5800-000             $0.00            $299.42     $299.42         $299.42
             Commission

    47P      S.C. Department of       5800-000             $0.00            $248.06       $0.00           $0.00
             Revenue

    50P      Commonwealth of          5800-000             $0.00              $0.00       $0.00           $0.00
             Massachusetts

    50P-2    Commonwealth of          5800-000             $0.00              $0.00       $0.00           $0.00
             Massachusetts

    50P-3    Commonwealth of          5800-000             $0.00          $2,247.28    $2,247.28       $2,247.28
             Massachusetts

    51P      State of Louisiana       5800-000             $0.00            $915.27     $915.27         $915.27


    52P      Vermont Department of    5800-000             $0.00              $0.00       $0.00           $0.00
             Taxes




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     53      Clerk, United States     5800-001            $0.00        $32.86         $32.86         $32.86
             Bankkruptcy Court -
             McLennan County

     54      Michigan Department      5800-000            $0.00         $0.00          $0.00          $0.00
             of Treasury

    54 -2    Michigan Department      5800-000            $0.00      $6,196.36      $6,196.36      $6,196.36
             of Treasury

    60P      Nebraska Department      5800-000            $0.00         $0.00          $0.00          $0.00
             of Revenue

    61P      Mississippi Department   5800-000            $0.00       $151.50        $151.50        $151.50
             of Revenue

    62P      Mississippi Department   5800-000            $0.00       $150.00        $150.00        $150.00
             of Revenue

     63      Texas Comptroller of     5800-000            $0.00      $6,027.57      $5,565.89      $5,565.89
             Public Accounts

    65P      Virginia Department of   5800-000            $0.00      $3,432.25      $2,582.25      $2,582.25
             Taxation

     66      Texas Comptroller of     5800-000            $0.00      $6,027.57         $0.00          $0.00
             Public Accounts

     68      City and County of       5800-000            $0.00       $232.00        $232.00        $232.00
             Denver/Treasury

    78P      FLORIDA                  5800-000            $0.00      $1,186.11      $1,186.11      $1,186.11
             DEPARTMENT OF
             REVENUE

    82P      S.C. Department of       5800-000            $0.00         $0.00          $0.00          $0.00
             Revenue

    82P-2    S.C. Department of       5800-000            $0.00      $5,795.68      $5,795.68      $5,795.68
             Revenue

     85      Fountain County          5800-000            $0.00       $374.19        $374.19        $374.19
             Treasurer

     89      Collector of Revenue     5800-000            $0.00        $24.59         $24.59         $24.59


     96      Revenue Comm             5800-000            $0.00       $183.50        $183.50        $183.50
             Tallapoosa County

    97P      Clerk, United States     5800-001            $0.00      $1,179.91      $1,179.91      $1,179.91
             Bankkruptcy Court -
             NY State Dept of
             Taxation and Finance




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    105P     New York State           5800-000            $0.00          $0.00          $0.00           $0.00
             Department of Taxation



    107      Clerk, United States     5800-001            $0.00        $54.00         $54.00          $54.00
             Bankkruptcy Court -
             White County Trustee

    109P     Mississippi Department   5800-000            $0.00       $150.00        $150.00         $150.00
             of Revenue

    120P     GEORGIA                  5800-000            $0.00          $0.00          $0.00           $0.00
             DEPARTMENT OF
             REVENUE

   120P-2    GEORGIA                  5800-000            $0.00          $0.00          $0.00           $0.00
             DEPARTMENT OF
             REVENUE

   120P-3    GEORGIA                  5800-000            $0.00     $24,840.00     $24,840.00      $24,840.00
             DEPARTMENT OF
             REVENUE

    130      Jefferson County         5800-000            $0.00        $87.00         $87.00          $87.00
             Trustee

    131      Jefferson County         5800-000            $0.00       $338.00        $338.00         $338.00
             Trustee

    132      Jefferson County         5800-000            $0.00        $38.00         $38.00          $38.00
             Trustee

    134P     Nebraska Department      5800-000            $0.00       $474.25        $474.25         $474.25
             of Revenue

    144      Union County             5800-000            $0.00          $5.51          $5.51           $5.51


    145      Franchise Tax Board      5800-000            $0.00       $825.32        $825.32         $825.32


    152      Gwinnett County Tax      5800-000            $0.00       $379.51        $379.51         $379.51
             Comm.

    153P     State Board of           5800-000            $0.00          $0.00          $0.00           $0.00
             Equalization

   153P-2    State Board of           5800-000            $0.00      $2,366.63      $2,366.63       $2,366.63
             Equalization

    171P     Vermont Department of    5800-000            $0.00       $506.00        $506.00         $506.00
             Taxes

    176P     Tishomingo County        5800-000            $0.00       $326.66        $326.66         $326.66
             Tax Collect




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    178P    US Equal Employment      5400-000            $0.00     $11,725.00         $0.00           $0.00
            Opportunity Commissn

    180P    Indiana Department of    5800-000            $0.00      $6,514.89         $0.00           $0.00
            Revenue

    181     Lafayette County Tax     5800-000            $0.00        $62.17         $62.17          $62.17
            Collector

    184P    New York State           5800-000            $0.00      $2,122.56      $2,122.56       $2,122.56
            Department of Taxation



    186     Henry County Tax         5800-000            $0.00       $236.34        $236.34         $236.34
            Comm.

    187     Tennessee                5800-000            $0.00        $59.80         $59.80          $59.80
            Department of
            Revenue

    N/F     ABERNATHY,               5300-000              NA             NA               NA            NA
            BONNIE

    N/F     ABERNATHY, TONY          5300-000              NA             NA               NA            NA


    N/F     ALEJANDRO                5300-000              NA             NA               NA            NA
            DELGADO CALLE

    N/F     ALEXANDER BOOM           5300-000              NA             NA               NA            NA
            DEL MONTE
            /RESIDENCIAL SOFIA
            VIRIGI

    N/F     ALLISON, BRENDA          5300-000              NA             NA               NA            NA


    N/F     ALLISON, HOYT            5300-000              NA             NA               NA            NA


    N/F     ALLRED, GLORIA           5300-000              NA             NA               NA            NA


    N/F     ALiCKI, JEFFREY          5300-000              NA             NA               NA            NA


    N/F     ANDERSON. SIMON          5300-000              NA             NA               NA            NA


    N/F     ARNOLD, WAYLON           5300-000              NA             NA               NA            NA


    N/F     ARROWOOD, PAM            5300-000              NA             NA               NA            NA


    N/F     AYERS, JIMMY             5300-000              NA             NA               NA            NA


    N/F     AYLESWORTH,              5300-000              NA             NA               NA            NA
            JANICE


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    N/F     AYLESWORTH,            5300-000             NA             NA                NA      NA
            MICHAEL

    N/F     BARNES, ROY            5300-000             NA             NA                NA      NA


    N/F     BARNES, VIRGIL         5300-000             NA             NA                NA      NA


    N/F     BATE, ERIC             5300-000             NA             NA                NA      NA


    N/F     BELFORD, PATRICIA      5300-000             NA             NA                NA      NA


    N/F     BENITEZ, CELIA         5300-000             NA             NA                NA      NA


    N/F     BENNETT, GLENN         5300-000             NA             NA                NA      NA


    N/F     BIANCHI, RICHARD       5300-000             NA             NA                NA      NA


    N/F     BLACK, STEVEN          5300-000             NA             NA                NA      NA


    N/F     BLACKBURN,             5300-000             NA             NA                NA      NA
            PATRICIA

    N/F     BOISCLAIR, DAVID       5300-000             NA             NA                NA      NA


    N/F     BOISCLAIR, JAMIE       5300-000             NA             NA                NA      NA


    N/F     BOLME, TRACEY          5300-000             NA             NA                NA      NA


    N/F     BOUASY, VEOVONG        5300-000             NA             NA                NA      NA


    N/F     BOUASY.                5300-000             NA             NA                NA      NA
            PHITSAMAY

    N/F     BOWEN, PAUL ERIC       5300-000             NA             NA                NA      NA


    N/F     BRADSHAW,              5300-000             NA             NA                NA      NA
            RAYMOND

    N/F     BROOKSHIRE,            5300-000             NA             NA                NA      NA
            KIMBERLY

    N/F     BROOKSHIRE,            5300-000             NA             NA                NA      NA
            RHONDA

    N/F     BROTHERTON,MARY        5300-000             NA             NA                NA      NA


    N/F     BROWN, GLORIA          5300-000             NA             NA                NA      NA



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    N/F     BROWN, JAMES           5300-000             NA             NA                NA      NA


    N/F     BRUCCHIERI. MARK       5300-000             NA             NA                NA      NA


    N/F     BURKE, WILBORN         5300-000             NA             NA                NA      NA


    N/F     BURRELL, PATRICIA      5300-000             NA             NA                NA      NA
            KYLE

    N/F     BUTTS, DAVID           5300-000             NA             NA                NA      NA


    N/F     CANUP,                 5300-000             NA             NA                NA      NA
            GWENDOLYN

    N/F     CANUP, JAMES           5300-000             NA             NA                NA      NA


    N/F     CANUP, LORNA           5300-000             NA             NA                NA      NA


    N/F     CARNES, AARON          5300-000             NA             NA                NA      NA


    N/F     CARNES, CLYDE RAY      5300-000             NA             NA                NA      NA


    N/F     CARNES, RUBY           5300-000             NA             NA                NA      NA


    N/F     CARR, DANIEL           5300-000             NA             NA                NA      NA


    N/F     CARR, RAYMOND          5300-000             NA             NA                NA      NA


    N/F     CHAMBERS, SHEENA       5300-000             NA             NA                NA      NA


    N/F     CHANTHALANGSY,O        5300-000             NA             NA                NA      NA
            UTHONG

    N/F     CHANTHAVONG,MET        5300-000             NA             NA                NA      NA
            TA

    N/F     CHASTAIN, LEE ROY      5300-000             NA             NA                NA      NA


    N/F     CHASTAIN, RICKY        5300-000             NA             NA                NA      NA


    N/F     CHITWOOD, TERRY        5300-000             NA             NA                NA      NA


    N/F     CHURCH, NANCY          5300-000             NA             NA                NA      NA


    N/F     CLEMMONS, GALE         5300-000             NA             NA                NA      NA




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    N/F     CLEVELAND,             5300-000             NA             NA                NA      NA
            WILLIAM

    N/F     CONNATSER,             5300-000             NA             NA                NA      NA
            WILLIAM

    N/F     CORTEZ, HUMBERTO       5300-000             NA             NA                NA      NA


    N/F     CROY, JAMES            5300-000             NA             NA                NA      NA


    N/F     DAN SEBASTIAN          5300-000             NA             NA                NA      NA


    N/F     DAVIDSON               5300-000             NA             NA                NA      NA
            GRISSOM, KAREN

    N/F     DAVIS, JERRY J         5300-000             NA             NA                NA      NA


    N/F     DAVIS, JERRY RAY       5300-000             NA             NA                NA      NA


    N/F     DAVIS, LLOYD           5300-000             NA             NA                NA      NA


    N/F     DAVIS, RUBY            5300-000             NA             NA                NA      NA


    N/F     DEAN, JUDY             5300-000             NA             NA                NA      NA


    N/F     DENNIS, CHARLES        5300-000             NA             NA                NA      NA


    N/F     DENTON, BETTY          5300-000             NA             NA                NA      NA


    N/F     DERRICK, RALPH         5300-000             NA             NA                NA      NA


    N/F     DILLS, RICHARD         5300-000             NA             NA                NA      NA


    N/F     DONNELLY, JAMES        5300-000             NA             NA                NA      NA


    N/F     DOWNER, ALICIA         5300-000             NA             NA                NA      NA


    N/F     DOWNER,                5300-000             NA             NA                NA      NA
            JONATHAN

    N/F     DRENNAN, MICHAEL       5300-000             NA             NA                NA      NA


    N/F     DUBON, KARLA           5300-000             NA             NA                NA      NA


    N/F     EGER, LASZLO           5300-000             NA             NA                NA      NA




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    N/F     ELLIOTT, ROBERT        5300-000             NA             NA                NA      NA


    N/F     ENRIQUE                5300-000             NA             NA                NA      NA
            RODRIGUEZ

    N/F     FERGUSON,BRANNO        5300-000             NA             NA                NA      NA
            N

    N/F     FORTENBERRY,           5300-000             NA             NA                NA      NA
            DARYL

    N/F     FORTENBERRY,           5300-000             NA             NA                NA      NA
            JAMES

    N/F     FRANSICO, JUAN         5300-000             NA             NA                NA      NA


    N/F     FRY, ROSALI E          5300-000             NA             NA                NA      NA


    N/F     FULFORD III,           5300-000             NA             NA                NA      NA
            WILLIAM

    N/F     GADDY, SCOTT           5300-000             NA             NA                NA      NA


    N/F     GAGO, TIM              5300-000             NA             NA                NA      NA


    N/F     GIBBY, ANGELA          5300-000             NA             NA                NA      NA


    N/F     GIOIOSA, MICHAEL       5300-000             NA             NA                NA      NA


    N/F     GOLDEN, BEN            5300-000             NA             NA                NA      NA


    N/F     GONSALVES,             5300-000             NA             NA                NA      NA
            RUSSELL

    N/F     GONZALEZ,              5300-000             NA             NA                NA      NA
            HERIBERTO

    N/F     GRISWOLD, MILTON       5300-000             NA             NA                NA      NA


    N/F     GROSS, HOSEA           5300-000             NA             NA                NA      NA


    N/F     GUILLOUD, TONYAH       5300-000             NA             NA                NA      NA


    N/F     HAMPTON, GARY          5300-000             NA             NA                NA      NA


    N/F     HANCOCK, JEAN          5300-000             NA             NA                NA      NA


    N/F     HARRISON, CLARK        5300-000             NA             NA                NA      NA



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    N/F     HELTON, JERRY          5300-000             NA             NA                NA      NA


    N/F     HERMAN SUMRALL         5300-000             NA             NA                NA      NA


    N/F     HESTER, DANIEL         5300-000             NA             NA                NA      NA


    N/F     HILLAND, TELFORD       5300-000             NA             NA                NA      NA


    N/F     HITT, CHRISTOPHER      5300-000             NA             NA                NA      NA


    N/F     HULAN, TERRY           5300-000             NA             NA                NA      NA


    N/F     HURLEY, STARR          5300-000             NA             NA                NA      NA


    N/F     IVESTER, LONNIE        5300-000             NA             NA                NA      NA


    N/F     JOHNSON, JAMES         5300-000             NA             NA                NA      NA


    N/F     JUSTUS, EDWIN          5300-000             NA             NA                NA      NA


    N/F     KASTNER, ADAM          5300-000             NA             NA                NA      NA


    N/F     KASTNER, ANGELA        5300-000             NA             NA                NA      NA


    N/F     KESLER, VERNER         5300-000             NA             NA                NA      NA


    N/F     KETNER, DERRECK        5300-000             NA             NA                NA      NA


    N/F     KING, MILDRED          5300-000             NA             NA                NA      NA


    N/F     KINSEY, MARY           5300-000             NA             NA                NA      NA


    N/F     KOLASHINSKI,           5300-000             NA             NA                NA      NA
            TAMMY

    N/F     KYTLE, JOHN            5300-000             NA             NA                NA      NA


    N/F     LACKEY, MICHAEL        5300-000             NA             NA                NA      NA


    N/F     LAFERRIERE,            5300-000             NA             NA                NA      NA
            ROBERT

    N/F     LATHAN, GLORIA         5300-000             NA             NA                NA      NA


    N/F     LECTORA,               5300-000             NA             NA                NA      NA
            JERONIMO


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    N/F     LINDSAY, KENNETH       5300-000             NA             NA                NA      NA


    N/F     LINGERFELT,            5300-000             NA             NA                NA      NA
            TAMALA

    N/F     LITTLE, STEWART        5300-000             NA             NA                NA      NA


    N/F     LITTLETON, STEVE       5300-000             NA             NA                NA      NA


    N/F     LOGGINS, TED           5300-000             NA             NA                NA      NA


    N/F     LOWE, DENVER           5300-000             NA             NA                NA      NA


    N/F     LOWERY. MICHAEL        5300-000             NA             NA                NA      NA


    N/F     MACAULEY, TONIA        5300-000             NA             NA                NA      NA


    N/F     MAGOON, CHERYL         5300-000             NA             NA                NA      NA


    N/F     MARTIN, DEBBIE         5300-000             NA             NA                NA      NA


    N/F     MARZILLI SR,           5300-000             NA             NA                NA      NA
            RAYMOND

    N/F     MATHESON, JERRY        5300-000             NA             NA                NA      NA


    N/F     MAYE, JOSHUA           5300-000             NA             NA                NA      NA


    N/F     MCCAY, FRANCES         5300-000             NA             NA                NA      NA


    N/F     MCENTYRE,STANLEY       5300-000             NA             NA                NA      NA



    N/F     MCNULTY, TIMOTHY       5300-000             NA             NA                NA      NA


    N/F     MEEKS, BENJAMIN        5300-000             NA             NA                NA      NA


    N/F     MELTON, LARRY          5300-000             NA             NA                NA      NA


    N/F     MILLER, LLOYD B        5300-000             NA             NA                NA      NA


    N/F     MILLER, R G            5300-000             NA             NA                NA      NA


    N/F     MILLS, MICHAEL         5300-000             NA             NA                NA      NA


    N/F     MIZE, JIMMY            5300-000             NA             NA                NA      NA


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    N/F     MIZE, JUNE             5300-000             NA             NA                NA      NA


    N/F     MONTE, ALEXANDER       5300-000             NA             NA                NA      NA
            BOOM DEL C/O JUAN
            TOMAS DIAZ

    N/F     MOON, JOHN             5300-000             NA             NA                NA      NA


    N/F     MOORE, BRIAN           5300-000             NA             NA                NA      NA


    N/F     MORRIS, WALTER         5300-000             NA             NA                NA      NA


    N/F     MORRISON, KAREN        5300-000             NA             NA                NA      NA


    N/F     MURAS,                 5300-000             NA             NA                NA      NA
            CHRISTOPHER

    N/F     NIX, DELPHIA           5300-000             NA             NA                NA      NA


    N/F     NORTON, RONNIE         5300-000             NA             NA                NA      NA


    N/F     OLIVER, DONALD         5300-000             NA             NA                NA      NA


    N/F     OUDOMSINE, DENH        5300-000             NA             NA                NA      NA


    N/F     OVERWYK,               5300-000             NA             NA                NA      NA
            BENJAMIN

    N/F     PACE, JOYCE            5300-000             NA             NA                NA      NA


    N/F     PAGE, ROBERT           5300-000             NA             NA                NA      NA


    N/F     PALMER, DAVID          5300-000             NA             NA                NA      NA


    N/F     PARKER, RICKY          5300-000             NA             NA                NA      NA


    N/F     PATEL, MANOJ           5300-000             NA             NA                NA      NA


    N/F     PEREZ. MARIO           5300-000             NA             NA                NA      NA
            /CALLE RETORNO
            MISION DE LAS /

    N/F     PERRY, LINDA S         5300-000             NA             NA                NA      NA


    N/F     PHASAVANG, KHAM        5300-000             NA             NA                NA      NA


    N/F     PHOMMARATH, XAY        5300-000             NA             NA                NA      NA


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    N/F     PHONGSAVANH,ROD        5300-000             NA             NA                NA      NA
            NEY

    N/F     PINEDA, RAFAEL         5300-000             NA             NA                NA      NA
            /COLONIA
            FESITRANH

    N/F     PITTS, BRUCE           5300-000             NA             NA                NA      NA


    N/F     POSTEN, ADAM           5300-000             NA             NA                NA      NA


    N/F     PRITCHETT, DAVID       5300-000             NA             NA                NA      NA


    N/F     PRUITT, GREG           5300-000             NA             NA                NA      NA


    N/F     RAMEY, EDITH           5300-000             NA             NA                NA      NA


    N/F     REID, CHARLES          5300-000             NA             NA                NA      NA


    N/F     REID, MARK             5300-000             NA             NA                NA      NA


    N/F     RICHARDS, JUDY         5300-000             NA             NA                NA      NA


    N/F     RITCHIE, ANTHONY       5300-000             NA             NA                NA      NA


    N/F     ROBERT W FELTZ         5300-000             NA             NA                NA      NA


    N/F     RODRIGUEZ,             5300-000             NA             NA                NA      NA
            HECTOR

    N/F     RODRIGUEZ.             5300-000             NA             NA                NA      NA
            PATRICIA

    N/F     ROGOWSKI,              5300-000             NA             NA                NA      NA
            LUCINDA

    N/F     ROJAS, BRIAN           5300-000             NA             NA                NA      NA


    N/F     RYALS, CINDY           5300-000             NA             NA                NA      NA


    N/F     SANCHEZ, EUCARIO       5300-000             NA             NA                NA      NA


    N/F     SANDERSON,             5300-000             NA             NA                NA      NA
            RICHARD

    N/F     SAVAGE, ANGELA         5300-000             NA             NA                NA      NA


    N/F     SAVAGE, POLLY          5300-000             NA             NA                NA      NA


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    N/F     SAVAGE, TIFFANY        5300-000             NA             NA                NA      NA


    N/F     SCHNEIDER,             5300-000             NA             NA                NA      NA
            JEREMY

    N/F     SCOTT PAGE             5300-000             NA             NA                NA      NA


    N/F     SERPA, JOHN            5300-000             NA             NA                NA      NA


    N/F     SHANE MCENTYRE         5300-000             NA             NA                NA      NA


    N/F     SHEDD, CHARLES         5300-000             NA             NA                NA      NA


    N/F     SHIRLEY, CAROLYN       5300-000             NA             NA                NA      NA
            M

    N/F     SIGMON, CATHY          5300-000             NA             NA                NA      NA


    N/F     SMITH, GRANDON         5300-000             NA             NA                NA      NA


    N/F     SMITH, MICHAEL         5300-000             NA             NA                NA      NA
            ANTHONY

    N/F     SMITH, RICHARD         5300-000             NA             NA                NA      NA


    N/F     SPENCE, WILLIAM        5300-000             NA             NA                NA      NA


    N/F     SPIEGEL, APRIL         5300-000             NA             NA                NA      NA


    N/F     STANCIL, RITA          5300-000             NA             NA                NA      NA


    N/F     STANLEY, TIMOTHY       5300-000             NA             NA                NA      NA


    N/F     STEWART, VICKIE        5300-000             NA             NA                NA      NA


    N/F     SUMRALL, HERMAN        5300-000             NA             NA                NA      NA


    N/F     SWAFFORD,              5300-000             NA             NA                NA      NA
            NATHANIEL

    N/F     TANKSLEY, GEORGE       5300-000             NA             NA                NA      NA


    N/F     TAYLOR, JOHN           5300-000             NA             NA                NA      NA


    N/F     TENCH, REBA            5300-000             NA             NA                NA      NA




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    N/F     THAMMAVONGSA,CH        5300-000             NA             NA                NA      NA
            AMPATHONG

    N/F     TOMAS, FRANCISCO       5300-000             NA             NA                NA      NA


    N/F     TOMAS, MOISES          5300-000             NA             NA                NA      NA


    N/F     TRIMIAR, RICKY         5300-000             NA             NA                NA      NA


    N/F     TYLER,DAKOTA           5300-000             NA             NA                NA      NA


    N/F     UMBERHANDT, BILLY      5300-000             NA             NA                NA      NA


    N/F     VALOUCH, JAMES         5300-000             NA             NA                NA      NA


    N/F     VENDETTI, MARK         5300-000             NA             NA                NA      NA


    N/F     WARD, MICKEY           5300-000             NA             NA                NA      NA


    N/F     WATTS, THEA            5300-000             NA             NA                NA      NA


    N/F     WHITLOCK, BRANDY       5300-000             NA             NA                NA      NA


    N/F     WILDES, ROBERT         5300-000             NA             NA                NA      NA


    N/F     WILKES, ELLEN          5300-000             NA             NA                NA      NA


    N/F     WILKES, FRED           5300-000             NA             NA                NA      NA


    N/F     WILLIAMS, CARY         5300-000             NA             NA                NA      NA


    N/F     WILLOCKS. CHONG        5300-000             NA             NA                NA      NA


    N/F     WILLlAMS,OMAJEAN       5300-000             NA             NA                NA      NA


    N/F     WINNETT, MARK          5300-000             NA             NA                NA      NA


    N/F     WOOD,JASON             5300-000             NA             NA                NA      NA


    N/F     WOOD,JUDY              5300-000             NA             NA                NA      NA


    N/F     WRIGHT, FRANK          5300-000             NA             NA                NA      NA


    N/F     WUNCH,                 5300-000             NA             NA                NA      NA
            CHRISTOPHER


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    N/F     WYKLE, EDDIE           5300-000              NA             NA               NA             NA


    N/F     YEADON,                5300-000              NA             NA               NA             NA
            CHRISTOPHER

    N/F     YEADON, MISTY          5300-000              NA             NA               NA             NA


    N/F     YOUNG, HOWARD          5300-000              NA             NA               NA             NA


    N/F     YOUNG. FRANKIE         5300-000              NA             NA               NA             NA


           TOTAL PRIORITY
          UNSECURED CLAIMS                             $0.00    $180,333.55     $61,428.86       $61,428.86




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                       CLAIMS
                                      UNIFORM        CLAIMS
                                                                      ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.         CLAIMANT            TRAN.      SCHEDULED
                                                                   (from Proofs of    ALLOWED           PAID
                                       CODE      (from Form 6F)
                                                                        Claim)

     3       Automated Packaging      7100-000             $0.00          $1,151.39     $1,151.39        $12.70
             Systems Inc

     4       Majestic Power Ltd       7100-000             $0.00        $891,343.02   $891,343.02      $9,835.35


     5       Peach State Fire Inc.    7100-000             $0.00              $0.00         $0.00         $0.00


    8 -2     Los Angeles County       7100-000             $0.00              $0.00         $0.00         $0.00
             Treasurer and

    8 -3     Los Angeles County       7100-000             $0.00          $7,065.40     $7,065.40        $77.96
             Treasurer and

    10 -2    Wells Fargo Equipment    7100-000             $0.00         $10,489.89    $10,489.89       $115.75
             Finance

     11      De Lage Landen           7100-000             $0.00         $10,811.82    $10,811.82       $119.30
             Financial Svc

     15      Wheeler Industrial       7100-000             $0.00        $118,251.01         $0.00         $0.00
             Corporation

     16      Clerk, United States     7100-001             $0.00          $5,359.30     $5,359.30        $59.14
             Bankkruptcy Court -
             CIT Technology
             Financing Services Inc

     18      Fedex Freight Inc        7100-000             $0.00          $9,089.00     $9,089.00       $100.29


    19U      Indiana Department of    7100-000             $0.00          $1,110.00         $0.00         $0.00
             Revenue

     20      Fisher Scientific Co     7100-000             $0.00          $2,197.95     $2,197.95        $24.25
             LLC

    21U      Mississippi Department   7300-000             $0.00            $685.50      $685.50          $0.00
             of Revenue

     22      Clerk, United States     7100-001             $0.00            $405.00      $405.00          $4.47
             Bankruptcy Court -
             Nixon Power Services

     24      Clerk, United States     7100-001             $0.00            $865.00      $865.00          $9.54
             Bankkruptcy Court -
             Industrial Scales and
             Systems Inc

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     26      Canon Financial          7100-000            $0.00     $54,492.65     $54,492.65      $601.29
             Services Inc

    27U      Internal Revenue         7100-000            $0.00    $377,972.11          $0.00        $0.00
             Service

    30U      Mississippi Department   7100-000            $0.00       $685.50           $0.00        $0.00
             of Revenue

     31      BDO USA LLP              7100-000            $0.00     $47,471.55     $47,471.55      $523.82


     32      Womble Carlyle           7100-000            $0.00     $65,188.63     $65,188.63      $719.31
             Sandridge Rice PLLC

     33      Laser SOS USA            7100-000            $0.00          $0.00          $0.00        $0.00


     34      National Standards       7100-000            $0.00      $2,375.00      $2,375.00       $26.21
             Authority

     35      Letourneau, Norman       7100-000            $0.00      $2,100.00      $2,100.00       $23.17


     36      Clerk, United States     7100-001            $0.00       $434.18        $434.18         $4.79
             Bankruptcy Court -
             Gas South

     37      Industrial Fabrics       7100-000            $0.00          $0.00          $0.00        $0.00
             Assoc International

    37 -2    Industrial Fabrics       7100-000            $0.00          $0.00          $0.00        $0.00
             Assoc International

    37 -3    Clerk, United States     7100-001            $0.00       $358.38        $358.38         $3.95
             Bankruptcy Court -
             Industrial Fabrics
             Assoc International

     38      United Parcel Service    7100-000            $0.00          $0.00          $0.00        $0.00
             Freight

    38 -2    United Parcel Service    7100-000            $0.00     $41,876.85     $41,876.85      $462.08
             Freight

     39      United Parcel Service    7100-000            $0.00     $14,025.41     $14,025.41      $154.77
             Freight

     40      Tennessee                7100-000            $0.00          $0.00          $0.00        $0.00
             Department of
             Revenue

    40 -2    Tennessee                7100-000            $0.00          $0.00          $0.00        $0.00
             Department of
             Revenue




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     41      GBC Metals LLC DBA        7100-000            $0.00   $1,896,446.52   $1,896,446.52      $20,925.96
             Olin Brass

    44U      S.C. Department of        7100-000            $0.00        $264.00           $0.00            $0.00
             Revenue

    45U      Tennessee                 7100-000            $0.00          $0.00           $0.00            $0.00
             Department of
             Revenue

    46U      Oklahoma Tax              7300-000            $0.00         $16.63          $16.63            $0.00
             Commission

    47U      S.C. Department of        7100-000            $0.00        $264.00           $0.00            $0.00
             Revenue

     48      NEC Financial             7100-000            $0.00     $64,316.94      $64,316.94         $709.69
             Services, LLC

     49      Fedex Techconnect         7100-000            $0.00     $20,644.66      $20,644.66         $227.80


    50U      Commonwealth of           7100-000            $0.00          $0.00           $0.00            $0.00
             Massachusetts

   50U-2     Commonwealth of           7100-000            $0.00          $0.00           $0.00            $0.00
             Massachusetts

   50U-3     Commonwealth of           7300-000            $0.00         $40.24          $40.24            $0.00
             Massachusetts

    51U      State of Louisiana        7300-000            $0.00        $120.00         $120.00            $0.00


    52U      Vermont Department of     7300-000            $0.00          $0.00           $0.00            $0.00
             Taxes

     55      State of Michigan         7300-000            $0.00          $0.00           $0.00            $0.00
             Department of
             Treasury

     56      OSG-Sterling Die Inc      7100-000            $0.00        $531.00         $531.00            $5.86


     57      Hartford Fire Insurance   7100-000            $0.00          $0.00           $0.00            $0.00
             Company

     58      Master Tool and Mold      7100-000            $0.00     $96,932.17      $96,932.17        $1,069.58
             Inc

    59 -2    US Bank NA dba US         7100-000            $0.00     $17,273.52      $17,273.52         $190.60
             Bank Equipment
             Finance

    60U      Nebraska Department       7300-000            $0.00          $0.00           $0.00            $0.00
             of Revenue



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    61U     Mississippi Department   7300-000            $0.00        $75.00         $75.00          $0.00
            of Revenue

    62U     Mississippi Department   7300-000            $0.00        $75.00         $75.00          $0.00
            of Revenue

    65U     Virginia Department of   7100-000            $0.00       $292.50       $1,142.50        $12.61
            Taxation

     69     Janpak Inc               7100-000            $0.00     $77,275.76     $77,275.76       $852.68


     70     Sugarloaf Partners,      7100-000            $0.00     $65,120.57     $65,120.57       $718.56
            LLC

     71     Hill, Donald E.          7100-000            $0.00      $8,400.00      $8,400.00        $92.69


     74     Peach State Fire Inc.    7100-000            $0.00      $1,458.04      $1,458.04        $16.09


     77     Clerk, United States     7100-001            $0.00      $5,000.00      $5,000.00        $55.17
            Bankkruptcy Court -
            Wall, Lois H

    78U     FLORIDA                  7300-000            $0.00       $595.78        $595.78          $0.00
            DEPARTMENT OF
            REVENUE

     79     Collector of Revenue     7100-000            $0.00          $0.00          $0.00         $0.00


     80     Cleveland, Kenneth       7100-000            $0.00     $24,000.00     $24,000.00       $264.82


     81     Clerk, United States     7100-001            $0.00       $100.52        $100.52          $1.11
            Bankruptcy Court -
            Young, Robert

    82U     S.C. Department of       7100-000            $0.00          $0.00          $0.00         $0.00
            Revenue

   82U-2    S.C. Department of       7300-000            $0.00      $7,039.00      $7,039.00         $0.00
            Revenue

     83     Davino, Charles V        7100-000            $0.00     $10,000.00     $10,000.00       $110.34


     87     Clerk, United States     7100-001            $0.00      $9,734.59      $9,734.59       $107.41
            Bankkruptcy Court -
            BDO Dunwoody

     90     Georgia Power            7100-000            $0.00    $124,235.89    $124,235.89      $1,370.86
            Company

     91     Momar Inc                7100-000            $0.00      $1,447.90      $1,447.90        $15.98


     92     Allen, Pearl H           7100-000            $0.00      $5,000.00      $5,000.00        $55.17


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     93     Tri-State Tubular Rivet   7100-000            $0.00      $2,335.18      $2,335.18       $25.77
            Co.

     94     Habersham Hospital        7100-000            $0.00      $3,862.99      $3,862.99       $42.63


     95     Clerk, United States      7100-001            $0.00       $878.00        $878.00         $9.69
            Bankkruptcy Court -
            Bochicchio, Helen

    97U     NY State Dept of          7300-000            $0.00       $250.00        $250.00         $0.00
            Taxation and Finance

     98     Clerk, United States      7100-001            $0.00       $517.50        $517.50         $5.71
            Bankkruptcy Court -
            Laser SOS USA Inc

     99     Allen, Claude             7100-000            $0.00      $7,200.00      $7,200.00       $79.45


    100     Lab Safety Supply         7100-000            $0.00       $468.90        $468.90         $5.17


    101     Dziura, Walter            7100-000            $0.00     $16,000.00     $16,000.00      $176.55


    102     State of Michigan         7100-000            $0.00          $0.00          $0.00        $0.00
            Department of
            Treasury

    103     State of Michigan         7300-000            $0.00      $1,199.50      $1,199.50        $0.00
            Department of
            Treasury

    104     Utility Service Group,    7100-000            $0.00     $44,156.32     $44,156.32      $487.23
            Inc.

    105U    New York State            7300-000            $0.00          $0.00          $0.00        $0.00
            Department of Taxation



    106     Clerk, United States      7100-001            $0.00        $47.23         $47.23         $0.52
            Bankruptcy Court -
            Burgon Tool Steel

    108     Jurewicz, Bertha P        7100-000            $0.00       $725.40        $725.40         $8.00


    109U    Mississippi Department    7300-000            $0.00        $75.00         $75.00         $0.00
            of Revenue

    110     Zubik, Daniel             7100-000            $0.00       $790.00        $790.00         $8.72


    111     Boucher, Donald           7100-000            $0.00          $0.00          $0.00        $0.00


    112     Boucher, Donald           7100-000            $0.00          $0.00          $0.00        $0.00



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    113      Boucher, Donald           7100-000            $0.00           $0.00            $0.00         $0.00


    114      Sims, John Phillip        7100-000            $0.00           $0.00            $0.00         $0.00


    115      European Commission       7300-000            $0.00   $10,737,516.59   $10,737,516.59        $0.00


    116      Collins, Dorothy M        7100-000            $0.00        $5,000.00        $5,000.00       $55.17


    117      Clerk, United States      7100-001            $0.00         $355.00          $355.00         $3.92
             Bankruptcy Court -
             Crowley Logistics, Inc.

    118      Frates, Alice             7100-000            $0.00        $1,337.26        $1,337.26       $14.76


    119      Ossias, Fryda             7100-000            $0.00           $0.00            $0.00         $0.00


    120U     GEORGIA                   7100-000            $0.00           $0.00            $0.00         $0.00
             DEPARTMENT OF
             REVENUE

   120U-2    GEORGIA                   7100-000            $0.00           $0.00            $0.00         $0.00
             DEPARTMENT OF
             REVENUE

   120U-3    GEORGIA                   7100-000            $0.00           $0.00            $0.00         $0.00
             DEPARTMENT OF
             REVENUE

    121      Micron Products, Inc.     7100-000            $0.00      $11,995.90       $11,995.90       $132.37


    122      Sedlak, Edward            7100-000            $0.00        $4,000.00        $4,000.00       $44.14


    124      Feltz, Robert W           7100-000            $0.00      $10,481.31       $10,481.31       $115.65


    125      Elco Sintered Alloys,     7100-000            $0.00     $141,184.94            $0.00         $0.00
             Inc

    126      Boucher, Donald           7100-000            $0.00        $2,400.00        $2,400.00       $26.48


    127      Boucher, Donald           7100-000            $0.00         $644.12          $644.12         $7.11


    128      Boucher, Donald           7100-000            $0.00      $20,384.00       $20,384.00       $224.92


    129      Clerk, United States      7100-001            $0.00        $4,000.00        $4,000.00       $44.14
             Bankkruptcy Court -
             Distasi, Joseph

    133      Duplicating Products,     7100-000            $0.00        $2,390.50        $2,390.50       $26.38
             Inc



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    134U     Nebraska Department     7300-000            $0.00          $84.00           $84.00             $0.00
             of Revenue

    136      ALLTECK GmbH            7100-000            $0.00      $17,228.84       $17,228.84          $190.11


    137      Henry County Tax        7100-000            $0.00           $0.00            $0.00             $0.00
             Comm.

    138      Ashworth, Kenneth A     7100-000            $0.00        $2,100.00        $2,100.00          $23.17


    139      Hinds County Tax        7100-000            $0.00         $970.42          $970.42           $10.71
             Collector

    140      Boucher, Donald A       7100-000            $0.00        $2,100.00        $2,100.00          $23.17


    141      Boucher, Roland A       7100-000            $0.00        $2,100.00        $2,100.00          $23.17


    147      Clerk, United States    7100-001            $0.00          $93.76           $93.76             $1.03
             Bankruptcy Court -
             TSI Solutions

    148      Clerk, United States    7100-001            $0.00        $4,000.00        $4,000.00          $44.14
             Bankkruptcy Court -
             Ciarlo, Nicolina

    149      Clerk, United States    7100-001            $0.00        $1,703.50        $1,703.50          $18.80
             Bankkruptcy Court -
             Ciarlo, Nicolina

    150      Tennessee Dept. of      7100-000            $0.00           $0.00            $0.00             $0.00
             Revenue

    153U     State Board of          7100-000            $0.00           $0.00            $0.00             $0.00
             Equalization

  153U-2a    Clerk, United States    7100-001            $0.00          $57.70           $57.70             $0.64
             Bankruptcy Court -
             State Board of
             Equalization

  153U-2b    State Board of          7300-000            $0.00         $231.00          $231.00             $0.00
             Equalization

    154      General Electric        7100-000            $0.00   $26,347,493.04   $14,707,199.39      $162,283.67
             Capital Corporation

    156      U.S. Customs and        7100-000            $0.00           $0.00            $0.00             $0.00
             Border Protection

    158      Industrial              7100-000            $0.00        $7,000.00        $7,000.00          $77.24
             Manufacturing
             Solutions, Inc.

    159      Lakeside Metals, Inc.   7100-000            $0.00      $17,620.00       $17,620.00          $194.42


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    160     Chadash Wood             7100-000            $0.00          $0.00          $0.00        $0.00
            Products

    161     OMelveny and Myers       7100-000            $0.00     $84,762.38     $84,762.38      $935.29
            LLP

    166     Clerk, United States     7100-001            $0.00       $451.01        $451.01         $4.98
            Bankruptcy Court -
            Verizon Wireless

    167     Cohen Weiss and          7100-000            $0.00          $0.00          $0.00        $0.00
            Simon LLP

    168     Earthlink, Inc           7100-000            $0.00          $0.00          $0.00        $0.00


    170     Little, Chester          7200-000            $0.00     $16,000.00     $16,000.00        $0.00


    171U    Vermont Department of    7300-000            $0.00       $125.00        $125.00         $0.00
            Taxes

    173     Jolna Apparel Group      7100-000            $0.00          $0.00          $0.00        $0.00


    174     Fishman & Tobin, Inc.    7100-000            $0.00          $0.00          $0.00        $0.00


    175     Norman Shatz Co.,        7100-000            $0.00          $0.00          $0.00        $0.00
            U.S.A.

    177     Greco Apparel, Inc.      7100-000            $0.00          $0.00          $0.00        $0.00


    178U    US Equal Employment      7100-000            $0.00     $58,620.80          $0.00        $0.00
            Opportunity Commissn

    180U    Indiana Department of    7100-000            $0.00       $650.00           $0.00        $0.00
            Revenue

    182P    Department of the        7100-000            $0.00      $3,012.20      $3,012.20       $33.24
            Treasury

    182S    Department of the        7100-000            $0.00     $17,522.96     $17,522.96      $193.35
            Treasury

    182U    Department of the        7300-000            $0.00    $334,058.00    $334,058.00        $0.00
            Treasury

    184U    New York State           7300-000            $0.00       $250.00        $250.00         $0.00
            Department of Taxation



    185     Commonwealth of          7100-000            $0.00       $456.00        $456.00         $5.03
            Massachusetts

    188     Pitney Bowes Global      7200-000            $0.00     $18,775.20     $18,775.20        $0.00
            Financial Services LLC


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    N/F     9190-6628 QUEBEC       7100-000        $39,514.21          NA                NA      NA
            INC. /STEVE MARAZ

    N/F     AIRGAS NATIONAL        7100-000         $1,909.72          NA                NA      NA
            WELDERS /DOUG

    N/F     ALL TECK GMBH          7100-000        $17,229.84          NA                NA      NA
            ALLTEC /FRANK
            REHMUS. ALLTEC
            LASER /

    N/F     ALLOY FASTENERS.       7100-000       $174,790.63          NA                NA      NA
            INC. /ROBERT
            ROTONDO /DEPT.
            10604

    N/F     ALLY                   7100-000         $1,309.98          NA                NA      NA


    N/F     ANGLER INDUSTRIES      7100-000          $533.50           NA                NA      NA



    N/F     ATLANTA BELTING        7100-000          $207.95           NA                NA      NA
            COMPANY

    N/F     ATOMIC ENERGY IND      7100-000           $39.20           NA                NA      NA
            LAB

    N/F     ATS TECH               7100-000         $2,632.50          NA                NA      NA
            SOLUTIONS. INC.

    N/F     AUTOMATED              7100-000         $1,438.54          NA                NA      NA
            PACKAGE SYSTEM

    N/F     BANK OF AMERICA        7100-000       $191,243.22          NA                NA      NA
            /LIBBY CALDWELL

    N/F     BOO DUNWOODY           7100-000         $7,750.94          NA                NA      NA


    N/F     BOO SEIDMAN, LLP       7100-000        $42,232.50          NA                NA      NA
            /MARTHA KAIRUZ

    N/F     BOULT WADE             7100-000          $700.04           NA                NA      NA
            TENNANT /VERULAM
            GARDENS

    N/F     C-SOLUTIONS, INC,      7100-000         $1,768.80          NA                NA      NA


    N/F     CANON FINANCIAL        7100-000         $3,656.43          NA                NA      NA
            SERVICES

    N/F     CAPITAL DATA           7100-000         $1,100.00          NA                NA      NA
            SERVICE, INC,

    N/F     CENTERBEAM, INC,       7100-000         $9,414.52          NA                NA      NA
            /DEPT CH 16611

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    N/F     CHADASH WOOD           7100-000          $575.00           NA                NA      NA
            PRODUCTS

    N/F     CHANGSHU XIELI         7100-000          $379.29           NA                NA      NA
            MACHINERY CO

    N/F     CIT TECHNOLOGY         7100-000         $2,274.47          NA                NA      NA
            FIN SERV, INC

    N/F     CITY ELECTRIC          7100-000          $232.29           NA                NA      NA
            SUPPLIES

    N/F     CITY OF                7100-000        $12,277.11          NA                NA      NA
            CLARKESVILLE

    N/F     CITY TAX               7100-000          $150.00           NA                NA      NA
            COLLECTOR

    N/F     COMPONENT              7100-000         $1,153.16          NA                NA      NA
            TECHNOLOGY &
            MACHINE

    N/F     CONSOLIDATED           7100-000          $100.24           NA                NA      NA
            PLASTICS COMPANY

    N/F     DARLINGTON             7100-000           $66.26           NA                NA      NA
            COUNTY
            TREASURER

    N/F     DESOTO COUNTY          7100-000          $203.80           NA                NA      NA
            TAX COLLECTOR

    N/F     DIPSOL OF AMERICA,     7100-000          $816.00           NA                NA      NA
            INC,

    N/F     DUPLICATING            7100-000          $814.12           NA                NA      NA
            PRODUCTS, INC

    N/F     ELCO SINTERED          7100-000        $89,891.74          NA                NA      NA
            ALLOYS, INC
            /RICHARD GREEN

    N/F     ENGINEERED PARTS       7100-000        $13,837.29          NA                NA      NA
            SOURCING

    N/F     EUROPEAN               7100-000     $8,635,374.82          NA                NA      NA
            COMMISSION /DIANA
            CALCIU

    N/F     FEDERAL EXPRESS        7100-000        $10,303.38          NA                NA      NA
            CORP

    N/F     FISHER SCIENTIFIC      7100-000         $2,197.95          NA                NA      NA
            /VICTORIA
            RIZZITANO



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    N/F     FLUID POWER!           7100-000           $289.41          NA                NA      NA
            SOUTH, INC

    N/F     FPC FUNDING NW         7100-000          $1,354.17         NA                NA      NA
            7668

    N/F     GAS SOUTH              7100-000           $182.51          NA                NA      NA


    N/F     GEORGIA POWER          7100-000       $139,179.53          NA                NA      NA
            CO /TSALI BEN LEY

    N/F     GLOBAL COMPUTER        7100-000            $52.48          NA                NA      NA
            SUPPLIES C/O SYX
            SERVICES

    N/F     GLOBAL SOFTWARE        7100-000          $3,482.00         NA                NA      NA
            INC /SUSAN GAGER

    N/F     GSCP (NJ) LP           7100-000      $1,312,500.00         NA                NA      NA
            /PETER FRANK

    N/F     GSCP RECOVERY,         7100-000     $48,929,000.00         NA                NA      NA
            INC /PETER FRANK

    N/F     HABERSHAM              7100-000            $77.31          NA                NA      NA
            HARDWARE & HOME

    N/F     HAROUN & HAROUN        7100-000           $190.00          NA                NA      NA


    N/F     HILLIARD CORP          7100-000          $3,280.40         NA                NA      NA


    N/F     HINDS COUNTY TAX       7100-000           $712.92          NA                NA      NA
            COLLECTOR

    N/F     INDUSTRIAL             7100-000           $865.00          NA                NA      NA
            SCALES,SYSTEMS

    N/F     JANPAK/GREENVILLE      7100-000        $76,524.69          NA                NA      NA
            PAPER CO./SKIP
            COOKE

    N/F     JOPEVI/CINICOLA`S      7100-000        $58,838.03          NA                NA      NA
            DE BUSSI NO 32

    N/F     KIM & CHANG            7100-000           $810.40          NA                NA      NA


    N/F     KIRKER & CIE           7100-000          $1,154.89         NA                NA      NA
            LTD./CASE POSTALE

    N/F     KONECRANES, INC.       7100-000          $4,751.68         NA                NA      NA


    N/F     KPMG, LLP/KRISTINE     7100-000        $27,551.00          NA                NA      NA



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    N/F     LAB SAFETY SUPPLY      7100-000           $48.11           NA                NA      NA
            CO.

    N/F     LAMCON MAJESTIC        7100-000       $845,228.00          NA                NA      NA
            POWER/KIT WONG

    N/F     LASER SOS USA          7100-000          $517.50           NA                NA      NA


    N/F     LEE SPRING CO.         7100-000          $954.77           NA                NA      NA


    N/F     LENA M RECORD          7100-000         $1,372.15          NA                NA      NA


    N/F     LLOVET SALES           7100-000          $542.50           NA                NA      NA
            COMPANY, INC

    N/F     MACHINERY              7100-000         $2,677.15          NA                NA      NA
            FINANCE
            RESOURCES

    N/F     MARTIN                 7100-000          $611.95           NA                NA      NA
            ENGINEERING
            CO./DEPT. 4531

    N/F     MASSACHUSETTS          7100-000          $456.00           NA                NA      NA
            DEPT OF REVENUE

    N/F     MASTER TOOL AND        7100-000        $95,464.22          NA                NA      NA
            MOLD INC./JON
            STERMER

    N/F     MCCARTER ENGLISH       7100-000         $1,109.76          NA                NA      NA
            ATTORNEYS
            LAW/FOUR
            GATEWAY CENTER

    N/F     MCKEE BUTTON           7100-000          $357.46           NA                NA      NA
            COMPANY

    N/F     METAL CHEM             7100-000       $286,904.81          NA                NA      NA
            INC/ROBIN
            ALEKSINAS

    N/F     MFM PROPERTIES         7100-000         $2,616.00          NA                NA      NA


    N/F     MICRON                 7100-000        $14,100.00          NA                NA      NA
            PRODUCTS/JUDY
            LUCIER

    N/F     MIDWAY ELECTRIC        7100-000          $425.59           NA                NA      NA


    N/F     MOMAR INC/BILL         7100-000         $1,447.90          NA                NA      NA
            BUCKLEY




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    N/F     MOORE MEDICAL          7100-000           $20.04           NA                NA      NA


    N/F     MWL, LLC               7100-000         $1,375.00          NA                NA      NA


    N/F     N E GA.                7100-000          $420.00           NA                NA      NA
            EXTERMINATING CO

    N/F     OLIN CORP /BRASS       7100-000        $11,390.69          NA                NA      NA
            DIVISION

    N/F     OLIN CORP/BRASS        7100-000     $1,885,055.83          NA                NA      NA
            DIV - #2/MASON
            GRIGGS

    N/F     OSG-STERLING DIE,      7100-000          $531.00           NA                NA      NA
            INC.

    N/F     O`MELVENY &            7100-000       $132,724.32          NA                NA      NA
            MYERS
            LLP/JERFFREY KOHN

    N/F     PINEHURST TOOL &       7100-000         $1,552.95          NA                NA      NA
            DIE

    N/F     PITNEY BOWES           7100-000         $3,347.87          NA                NA      NA
            GLOBAL FIN. SERV

    N/F     POSTMASTER             7100-000         $1,050.00          NA                NA      NA


    N/F     RESOURCE               7100-000          $464.30           NA                NA      NA
            TECHNOLOGY

    N/F     SAFETY SOUTH           7100-000           $77.45           NA                NA      NA
            SUPPLIES

    N/F     SAFETY TODAY, INC.     7100-000           $89.29           NA                NA      NA


    N/F     SAFETY-KLEEN (TS),     7100-000          $610.56           NA                NA      NA
            INC.

    N/F     SANILAC TOWNSHIP       7100-000           $53.48           NA                NA      NA
            TREASURER

    N/F     SCOTT BRASS            7100-000     $1,153,872.60          NA                NA      NA
            INC./DAVID

    N/F     SMITH, GAMBRELL &      7100-000       $146,286.00          NA                NA      NA
            RUSSELL,
            LLP/SANDRA MOSS
            MALLORY

    N/F     SOKOLOW,               7100-000        $12,922.30          NA                NA      NA
            CARRERAS &
            ASSOCIATES


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    N/F     STAR ELECTRIC          7100-000          $647.65           NA                NA      NA
            SUPPLY CO.

    N/F     STERICYCLE, INC.       7100-000          $906.18           NA                NA      NA


    N/F     STIKEMAN ELLIOTT       7100-000         $6,166.75          NA                NA      NA
            LLP

    N/F     STROOCK &              7100-000       $124,225.14          NA                NA      NA
            STROOCK & LAVIN
            LLP/MICHAEL
            MAGZAMEN

    N/F     SUMTER COUNTY          7100-000          $156.02           NA                NA      NA
            TREASURER

    N/F     SUNTRUST BANK          7100-000         $6,595.02          NA                NA      NA


    N/F     TAX                    7100-000          $491.75           NA                NA      NA
            COLLECTOR/TRAVIS
            E CRIMM

    N/F     TENNANT SALES          7100-000         $1,206.96          NA                NA      NA
            AND SERVICE CO

    N/F     TEXAS STATE            7100-000        $10,000.00          NA                NA      NA
            COMPTROLLER

    N/F     THOMSON                7100-000         $5,100.00          NA                NA      NA
            COMPUMARK

    N/F     TRAVERS TOOL CO.,      7100-000          $117.74           NA                NA      NA
            INC.

    N/F     TRI-COUNTY             7100-000          $556.24           NA                NA      NA
            MACHINES, INC.

    N/F     TRI-STATE PUMP,        7100-000          $558.36           NA                NA      NA
            INC.

    N/F     TRI-STATE TUBULAR      7100-000         $2,335.18          NA                NA      NA
            RIVET CO.

    N/F     ULBRICH OF ILLINOIS    7100-000        $21,985.52          NA                NA      NA
            INC.

    N/F     UNITED PARCEL          7100-000         $8,898.69          NA                NA      NA
            SERVICE, INC./TERI
            PLUMMER
            MCCLURE,

    N/F     UPS/UPS SCS            7100-000         $3,149.06          NA                NA      NA
            ATLANTA

    N/F     US PLASTICS CORP       7100-000           $53.64           NA                NA      NA


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    N/F     UTILITY SERVICE        7100-000        $22,156.32               NA               NA               NA
            GROUP, INC.

    N/F     VANGUARD               7100-000           $576.00               NA               NA               NA
            SECURITY ASSOC,
            INC.

    N/F     VENTURE NETCOMM        7100-000           $992.00               NA               NA               NA
            INC.

    N/F     WHEELER                7100-000        $97,710.39               NA               NA               NA
            INDUSTRIAL
            CORP/PAUL COATES

    N/F     WINDSTREAM             7100-000          $2,143.70              NA               NA               NA


    N/F     WINSTON COUNTY         7100-000            $42.80               NA               NA               NA
            TAX COLLECTOR

    N/F     WOMBLE CARLYLE         7100-000        $65,183.09               NA               NA               NA
            SANDRIDGE
            RICE/DAVID ADAMS

    N/F     WRENTHAM TOOL          7100-000           $558.93               NA               NA               NA
            PRODUCTS

            TOTAL GENERAL
           UNSECURED CLAIMS                     $64,818,106.54   $42,060,166.22   $29,721,720.21      $205,287.76




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                                           Individual Estate Property Record and Report                                                                      Page: 1

                                                            Asset Cases
Case No.:    11-21650-JRS                                                                         Trustee Name:      (300320) S. Gregory Hays
Case Name:         CLARKESVILLE LIQUIDATION INC.                                                  Date Filed (f) or Converted (c): 07/12/2011 (c)
                                                                                                  § 341(a) Meeting Date:       08/09/2011
For Period Ending:         05/18/2018                                                             Claims Bar Date:      11/30/2011

                                       1                                  2                      3                      4                    5                    6

                           Asset Description                           Petition/         Estimated Net Value     Property Formally     Sale/Funds            Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled        (Value Determined By        Abandoned        Received by the      Administered (FA)/
                                                                        Values                 Trustee,             OA=§554(a)           Estate            Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                             Remaining Assets
  Ref. #                                                                                  and Other Costs)

    1       1802 Scovill Drive Clarkesville, Ga.                     3,578,950.00                         0.00                                   0.00                          FA
            30523
            Asset administered in the Chapter 11 Case.

    2       Petty Cash                                                        702.00                      0.00                                   0.00                          FA
            Asset administered in the Chapter 11 Case.

    3       Checking Savings & Other Accounts                          159,996.00                         0.00                              95,872.85                          FA
            Asset partially administered in the Chapter 11 Case.

    4       Retainer for Legal Services held by                         42,711.11                         0.00                                   0.00                          FA
            Alston & Bir
            Asset partially administered in the Chapter 11 Case.

    5       100% Share of PCI Group, Inc.                                Unknown                          0.00                                   0.00                          FA
            Asset administered in the Chapter 11 Case. See case #
            11-21655.

    6       100% Membership Interest in Rau                              Unknown                          0.00                                   0.00                          FA
            Fasteners
            Asset administered in the Chapter 11 Case. Case. See
            case # 11-21654.

    7       100% Shares of Scomex, Inc.                                  Unknown                          0.00                                   0.00                          FA
            Asset administered in the Chapter 11 Case. Case. See
            case # 11-21653.

    8       99.8% Shares of Scovill Fasterners                           Unknown                          0.00                                   0.00                          FA
            Europe
            Asset administered in the Chapter 11 Case.

    9       100% Shares of Scovill Fasterners India                      Unknown                          0.00                                   0.00                          FA
            Asset administered in the Chapter 11 Case.

   10       100% Shares of Scovill Fasterners (HK)                       Unknown                          0.00                                   0.00                          FA
            LTD
            Asset administered in the Chapter 11 Case.

   11       100% Shares of Scovill Fasterners (UK)                       Unknown                          0.00                                   0.00                          FA
            Ltd
            Asset administered in the Chapter 11 Case.

   12       100% Shares of Scovill Puerto Rico                           Unknown                          0.00                                   0.00                          FA
            Asset administered in the Chapter 11 Case.

   13       Accounts Receivable                                      4,657,927.11                         0.00                                   0.00                          FA
            Asset administered in the Chapter 11 Case.

   14       Prepayments - Various Ins policies,                          Unknown                  100,000.00                             140,632.57                            FA
            Claims, etc

   15       Patents, Copyrights and other IP                             Unknown                          0.00                                   0.00                          FA
            Asset administered in the Chapter 11 Case.

   16       Automobiles, Trucks, Trailers etc.                          67,000.00                         0.00                                   0.00                          FA
            All vehicles except Impala administered in the Chapter
            11 Case.




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                                          Individual Estate Property Record and Report                                                                   Page: 2

                                                           Asset Cases
Case No.:    11-21650-JRS                                                                    Trustee Name:      (300320) S. Gregory Hays
Case Name:        CLARKESVILLE LIQUIDATION INC.                                              Date Filed (f) or Converted (c): 07/12/2011 (c)
                                                                                             § 341(a) Meeting Date:       08/09/2011
For Period Ending:        05/18/2018                                                         Claims Bar Date:      11/30/2011

                                      1                               2                     3                      4                   5                      6

                           Asset Description                       Petition/        Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)         Unscheduled       (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                    Values                Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                  Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                             and Other Costs)

   17       Office Furniture, desks, filings cabinets,             195,490.08                        0.00                                    0.00                          FA
            etc.
            Asset administered in the Chapter 11 Case.

   18       Machinery and Equipment                               7,993,048.00                       0.00                                    0.00                          FA
            Asset administered in the Chapter 11 Case.

   19       Inventory                                             3,269,638.93                       0.00                                    0.00                          FA
            Asset administered in the Chapter 11 Case.

   20       Suntrust Bank - Enviro Trust Fund                      357,655.00                        0.00                                    0.00                          FA
            Asset administered in the Chapter 11 Case.

   21       Asset moved to TIR for Case #11-21652,                         0.00                      0.00                                    0.00                          FA
            Scovill I
            100% Shares of Scovill Fasteners Inc.

   22       Asset moved to TIR for Case # 11-21654,                        0.00                      0.00                                    0.00                          FA
            Rau Fast
            100% Shares of Scovill Canada Inc.

   23       Asset moved to TIR for Case # 11-21653,                        0.00                      0.00                                    0.00                          FA
            Scomex
            94% Shares of Scovill Fasteners S.A. DE C.V.

   24       Preference Period Payments                            8,265,164.06             8,265,164.06                          1,319,933.17                              FA
            Includes adversaries # 13-02032 thru 13-02090

   25       Asset Purchase Adjustments/Settlement                          0.00            1,000,000.00                          2,361,767.26                              FA

   26       Tax Refunds (u)                                                0.00                 1,071.00                               1,526.56                            FA

   27       Insurance Broker Settlement (u)                                0.00                   506.97                                   687.16                          FA

   28       Unclaimed Property - State of Virginia (u)                     0.00                      0.00                              7,399.61                            FA

   INT      INTEREST (u)                                              Unknown                         N/A                                    2.50                          FA

   29       Assets Totals (Excluding unknown values)            $28,588,282.29            $9,366,742.03                         $3,927,821.68                        $0.00



 Major Activities Affecting Case Closing:




 Initial Projected Date Of Final Report (TFR): 12/31/2013                         Current Projected Date Of Final Report (TFR):            04/27/2017 (Actual)




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                                             Cash Receipts And Disbursements Record
Case No.:                 11-21650-JRS                                     Trustee Name:                    S. Gregory Hays (300320)
Case Name:                CLARKESVILLE LIQUIDATION INC.                    Bank Name:                       The Bank of New York Mellon
Taxpayer ID #:            **-***9561                                       Account #:                       **********7065 Money Market Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1             2                      3                                       4                               5                      6                       7

  Trans.       Check or      Paid To / Received From           Description of Transaction       Uniform       Deposit             Disbursement         Account Balance
   Date         Ref. #                                                                         Tran. Code       $                       $

 07/22/11                 From Account #**********7066      Transfer from Operating to MMA     9999-000         228,637.22                                        228,637.22

 07/26/11                 From Account #**********7066      Transfer from Operating to MMA     9999-000          94,781.79                                        323,419.01

 07/29/11        Int      The Bank of New York Mellon       Interest posting at 0.0100%        1270-000                 0.56                                      323,419.57

 08/01/11                 To Account #**********7066        Transfer from MMA to Operating     9999-000                                 28,367.22                 295,052.35

 08/01/11                 To Account #**********7066        Transfer from MMA to Operating     9999-000                                     270.00                294,782.35

 08/19/11                 From Account #**********7066      Transfer from Operating to MMA     9999-000              526.27                                       295,308.62

 08/25/11        Int      The Bank of New York Mellon       Current Interest Rate is 0.0100%   1270-000                 1.94                                      295,310.56

 08/25/11                 To Account #**********7066        Transfer from MMA to Operating     9999-000                                295,310.56                       0.00

                                             COLUMN TOTALS                                                      323,947.78             323,947.78                      $0.00
                                                   Less: Bank Transfers/CDs                                     323,945.28             323,947.78
                                             Subtotal                                                                   2.50                   0.00
        true
                                                   Less: Payments to Debtors                                                                   0.00

                                             NET Receipts / Disbursements                                            $2.50                   $0.00


                                                                                                                                                        false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                         Trustee Name:                       S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                        Bank Name:                          The Bank of New York Mellon
Taxpayer ID #:         **-***9561                                           Account #:                          **********7066 Checking Account
For Period Ending: 05/18/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                            Separate Bond (if applicable): N/A
    1          2                          3                                        4                                 5                 6                     7

  Trans.    Check or        Paid To / Received From           Description of Transaction            Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                                Tran. Code       $                   $

 07/19/11     {25}       King & Spalding LLP               Wire transfer - Escrowed funds          1129-000         228,637.22                                  228,637.22

 07/22/11                To Account #**********7065        Transfer from Operating to MMA          9999-000                           228,637.22                      0.00

 07/26/11     {3}        World Tex Inc.                    Wire transfer - Utility Deposit         1129-000          94,781.79                                   94,781.79
                                                           Account $94,482.79, Payroll
                                                           Account $74.02, General
                                                           Operating Account $224.98

 07/26/11                To Account #**********7065        Transfer from Operating to MMA          9999-000                            94,781.79                      0.00

 08/01/11                From Account #**********7065      Transfer from MMA to Operating          9999-000          28,367.22                                   28,367.22

 08/01/11                From Account #**********7065      Transfer from MMA to Operating          9999-000              270.00                                  28,637.22

 08/01/11     101        FPC Funding, LLC/Security Depot   Cure payment per court order,           6990-000                             6,944.22                 21,693.00
                         Inc.                              docket #147.

 08/01/11     102        MFM Properties, LLC               Cure payment per court order,           6990-000                             2,616.00                 19,077.00
                                                           docket #147.

 08/01/11     103        Canon Financial Services, Inc.    Cure payment per court order,           6990-000                             2,010.00                 17,067.00
                                                           docket #147.

 08/01/11     104        CIT Technology Financing          Cure payment per court order,           6990-000                                682.00                16,385.00
                         Services, Inc.                    docket #147.

 08/01/11     105        DeLage Landen Financial           Cure payment per court order,           6990-000                             1,224.00                 15,161.00
                         Services, Inc.                    docket #147.

 08/01/11     106        DeLage Landen Financial           Cure payment per court order,           6990-000                                424.00                14,737.00
                         Services, Inc.                    docket #147.

 08/01/11     107        Pitney Bowes Global Financial     Cure payment per court order,           6990-000                             2,904.00                 11,833.00
                         Services                          docket #147.

 08/01/11     108        Manufacturer Services Group       Cure payment per court order,           6990-000                                639.00                11,194.00
                                                           docket #147.

 08/01/11     109        Manufacturer Services Group       Cure payment per court order,           6990-000                                842.00                10,352.00
                                                           docket #147.

 08/01/11     110        Machinery Finance Resources       Cure payment per court order,           6990-000                             3,570.00                  6,782.00
                                                           docket #147.

 08/01/11     111        NEC Financial Services, LLC       Cure payment per court order,           6990-000                             4,150.00                  2,632.00
                                                           docket #147.

 08/01/11     112        ATS Tech Solution Inc.            Cure payment per court order,           6990-000                             2,632.00                      0.00
                                                           docket #147.

 08/02/11     {14}       Texas Comptroller of Public       Warrant refund                          1129-000              180.00                                    180.00
                         Accounts

 08/05/11     {14}       UNUM                              Insurance premium refund                1129-000               74.30                                    254.30

 08/05/11     {14}       UMR                               Insurance premium refund                1129-000              195.77                                    450.07

 08/05/11     {14}       United of Omah Life Insurance     Insurance premium refund                1129-000               11.11                                    461.18
                         Company

 08/05/11     {14}       United of Omah Life Insurance     Insurance premium refund                1129-000               65.39                                    526.57
                         Company

 08/19/11                To Account #**********7065        Transfer from Operating to MMA          9999-000                                526.27                     0.30

                                                                                             Page Subtotals:      $352,582.80       $352,582.50       true


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                                             Form 2                                                                            Exhibit 9
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                                             Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                        The Bank of New York Mellon
Taxpayer ID #:         **-***9561                                          Account #:                        **********7066 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                        3                                         4                               5                6                    7

  Trans.    Check or        Paid To / Received From           Description of Transaction         Uniform       Deposit        Disbursement      Account Balance
   Date      Ref. #                                                                             Tran. Code       $                  $

 08/23/11     {25}       King & Spalding LLP               GECC carveout funding for Alston     1129-000       1,411,078.11                             1,411,078.41
                                                           & Byrd, CMAG and Greenburg
                                                           Traurig fees & exp

 08/25/11                From Account #**********7065      Transfer from MMA to Operating       9999-000         295,310.56                             1,706,388.97

 08/26/11                Alston & Bird LLP                 Reverse wire transfer, doc #257                                       -501,809.91            2,208,198.88

                                                                                                6210-160                                                2,208,198.88

                                                                                -$414,788.41

                                                                                                6220-170                                                2,208,198.88

                                                                                 -$87,021.50

 08/26/11                Alston & Bird LLP                 Wire transfer per court order, doc                                     501,809.91            1,706,388.97
                                                           #257, for services provided

                                                           Professional Fees - Transaction      6210-160                                                1,706,388.97
                                                           Reversed

                                                                                 $414,788.41

                                                           Expenses. Transaction reversed       6220-170                                                1,706,388.97

                                                                                  $87,021.50

 08/26/11                Carl Marks Advisory Group LLC     Wire transfer per court order, doc                                     836,078.11               870,310.86
                                                           #258, for services rendered
                                                           4/19/11 - 6/24/11

                                                           Awarded Fees per Order, Dkt #        6700-420                                                   870,310.86
                                                           258.

                                                                                 $829,250.00

                                                           Awarded expenses per Order, Dkt      6710-430                                                   870,310.86
                                                           # 258.

                                                                                   $6,828.11

 08/26/11                Alston & Bird LLP                 Wire transfer per court order, doc                                     450,000.00               420,310.86
                                                           #257, for services provided
                                                           4/19/11 - 7/8/11

                                                           Balance of Awarded Fees per          6210-160                                                   420,310.86
                                                           order (Dkt No. 257)

                                                                                 $362,978.50

                                                           Awarded expenses per order (Dkt      6220-170                                                   420,310.86
                                                           No. 257)

                                                                                  $87,021.50

 08/29/11     {24}       Fasnap Corp.                      Preference payment. Per Order,       1141-000           9,323.65                                429,634.51
                                                           dkt # 286.

 09/08/11                Greenberg Traurig, LLP            Atty for creditor committee's fees                                     125,000.00               304,634.51
                                                           & Exp Per order, dkt #266

                                                           Atty for creditor committee's fees   6700-140                                                   304,634.51
                                                           Per order, dkt #266

                                                                                 $120,167.74

                                                           Atty for creditor committee's Exp    6710-150                                                   304,634.51
                                                           Per order, dkt #266


                                                                                          Page Subtotals:    $1,715,712.32    $1,411,078.11      true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                   Case 11-21650-jrs                  Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                                Desc
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                      Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                     Bank Name:                        The Bank of New York Mellon
Taxpayer ID #:         **-***9561                                        Account #:                        **********7066 Checking Account
For Period Ending: 05/18/2018                                            Blanket Bond (per case limit): $30,390,000.00
                                                                         Separate Bond (if applicable): N/A
    1          2                          3                                     4                               5                 6                     7

  Trans.    Check or         Paid To / Received From        Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                           Tran. Code       $                   $



                                                                                 $4,832.26

 09/12/11     {25}       King & Spalding, LLP            GECC carve out funding of BMC        1129-000          17,327.69                                  321,962.20
                                                         Group fees & expenses. Wire
                                                         transfer

 09/15/11                BMC Group, Inc.                 Reverse wire transfer request of     6700-000                           -50,000.00                371,962.20
                                                         9/15/11

 09/15/11                BMC Group, Inc.                 Preparation of final claims and      6700-000                            50,000.00                321,962.20
                                                         creditor detail files

 09/15/11                BMC Group, Inc.                 Preparation of final claims and      6700-000                            17,327.69                304,634.51
                                                         creditor detail files

 09/16/11                BMC Group Inc.                  Reverse wire transfer request of     6700-000                           -17,327.69                321,962.20
                                                         9/15/11

 09/30/11                The Bank of New York Mellon     Bank and Technology Services         2600-000                                667.11               321,295.09
                                                         Fee

 10/28/11     {24}       United Parcel Service           Settlement agreement. Per Order,     1141-000          16,000.00                                  337,295.09
                                                         dkt # 286.

 10/31/11                The Bank of New York Mellon     Bank and Technology Services         2600-000                                638.19               336,656.90
                                                         Fee

 11/01/11     {14}       NEBCO                           Refund - health insurance            1129-000           2,654.30                                  339,311.20

 11/03/11     113        Merrill Communications LLC      DataSite infrastructure service.     2990-000                                315.60               338,995.60
                                                         Invoice #1256080 per court order
                                                         docket #284

 11/08/11     {24}       Utility Service Group           Settlement. Per Order, dkt # 286.    1141-000          22,000.00                                  360,995.60

 11/10/11     {24}       Cleveland Tool & Design, LLC    Settlement - 1st of 3 payments.      1141-000           3,000.00                                  363,995.60
                                                         Per Order, dkt # 286.

 11/10/11     {24}       Unifirst Corporation            Preference Settlement. Per Order,    1141-000          20,000.00                                  383,995.60
                                                         dkt # 286.

 11/16/11     {14}       Scovill Fasteners               Hartford Worker comp refund          1129-000          26,517.00                                  410,512.60

 11/30/11                The Bank of New York Mellon     Bank and Technology Services         2600-000                                820.89               409,691.71
                                                         Fee

 12/05/11     {24}       Cleveland Tool & Design, LLC    2 of 3 pmts. Per Order, dkt # 286.   1141-000           3,000.00                                  412,691.71

 12/16/11     {14}       Ceridian                        Refund for payroll services          1129-000              545.23                                 413,236.94

 12/16/11     {24}       UPS Supply Chain Solutions      Preference payment. Per Order,       1141-000           6,500.00                                  419,736.94
                                                         dkt # 286.

 12/27/11     {24}       Cleveland Tool & Design, LLC    3 of 3 pmts. Per Order, dkt # 286.   1141-000           3,000.00                                  422,736.94

 12/27/11     {14}       Marsh USA Inc.                  Insurance refund                     1129-000          38,581.00                                  461,317.94

 12/30/11                The Bank of New York Mellon     Bank and Technology Services         2600-000                                857.76               460,460.18
                                                         Fee

 12/31/11     114        Merrill Communications LLC      Invoice #1243067 Services            2990-000                                257.76               460,202.42
                                                         rendered 8/20/11 - 9/9/11
                                                         Voided on 12/31/2011

                                                                                       Page Subtotals:       $159,125.22         $3,557.31       true



{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                    S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                       The Bank of New York Mellon
Taxpayer ID #:         **-***9561                                          Account #:                       **********7066 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                         3                                       4                               5                6                      7

  Trans.    Check or        Paid To / Received From          Description of Transaction         Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

 12/31/11     114        Merrill Communications LLC       Invoice #1243067 Services            2990-000                               -257.76               460,460.18
                                                          rendered 8/20/11 - 9/9/11
                                                          Voided: check issued on
                                                          12/31/2011

 01/06/12     {14}       FedEx                            Deposit refund                       1129-000          20,000.00                                  480,460.18

 01/31/12                The Bank of New York Mellon      Bank and Technology Services         2600-000                            1,033.96                 479,426.22
                                                          Fee

 02/21/12     {24}       Reed & Prince Manufacturing      Preference Settlement. Per Order,    1141-000           6,172.40                                  485,598.62
                         Corporation                      dkt # 316.

 02/28/12     115        Merrill Communications LLC       DataSite infrastructure service.     2990-000                                257.76               485,340.86
                                                          Invoice #1243067 Services
                                                          rendered 8/20/11 - 9/9/11 per
                                                          court order docket #295

 02/29/12                The Bank of New York Mellon      Bank and Technology Services         2600-000                                952.63               484,388.23
                                                          Fee

 03/30/12                The Bank of New York Mellon      Bank and Technology Services         2600-000                                992.72               483,395.51
                                                          Fee

 04/30/12                The Bank of New York Mellon      Bank and Technology Services         2600-000                                957.54               482,437.97
                                                          Fee

 05/02/12     116        Greenberg Traurig, LLP           Professional services rendered                                          96,817.49                 385,620.48
                                                          7/12/11 - 2/29/12 per court order
                                                          docket #317

                                                          Atty for Trustee Fees, Paid per      3210-000                                                     385,620.48
                                                          Order, Dkt # 317.

                                                                                 $93,284.50

                                                          Atty for Trustee expenses, Paid      3220-000                                                     385,620.48
                                                          per Order, Dkt # 317

                                                                                  $3,532.99

 05/02/12     117        Hays Financial Consulting, LLC   Professional services rendered                                         130,183.30                 255,437.18
                                                          7/12/11 - 2/29/12 per court order
                                                          docket #318

                                                          Accountant Fees. Per order, Dkt #    3310-000                                                     255,437.18
                                                          318.

                                                                                $127,141.25

                                                          Accountant Expenses. Per order,      3320-000                                                     255,437.18
                                                          Dkt # 318.

                                                                                  $3,042.05

 05/02/12     118        BMC Group Inc                    Claims Agent Fees. Professional      6700-000                           17,327.69                 238,109.49
                                                          services rendered 7/12/11 -
                                                          2/29/12 per court order docket
                                                          #319

 05/02/12     119        Chadash Wood Products            §503(b)(9) claim allowed Per court   6990-000                                575.00               237,534.49
                                                          order docket #319.

 05/02/12     120        McKee Button Company Inc         §503(b)(9) claim allowed Per court   6990-000                                357.46               237,177.03
                                                          order docket #319.

 05/02/12     121        Master Tool and Mold Inc         §503(b)(9) claim allowed Per court   6990-000                                618.26               236,558.77
                                                          order docket #319.

                                                                                         Page Subtotals:       $26,172.40      $249,816.05        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                          Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                         Bank Name:                         The Bank of New York Mellon
Taxpayer ID #:         **-***9561                                            Account #:                         **********7066 Checking Account
For Period Ending: 05/18/2018                                                Blanket Bond (per case limit): $30,390,000.00
                                                                             Separate Bond (if applicable): N/A
    1          2                          3                                          4                               5                 6                     7

  Trans.    Check or            Paid To / Received From          Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                                Tran. Code       $                   $

 05/02/12     122        Janpak Inc                           §503(b)(9) claim allowed Per court   6990-000                             1,631.50                234,927.27
                                                              order docket #319.

 05/02/12     123        Metal Chem Inc                       §503(b)(9) claim allowed Per court   6990-000                            21,807.44                213,119.83
                                                              order docket #319. See also order,
                                                              docket # 316.

 05/03/12     {24}       IFAI                                 Preference payment. Per Order,       1141-000              819.00                                 213,938.83
                                                              dkt # 316.

 05/11/12     {25}       GE Capital Commercial Finance        Wire transfer. Settlement pmt. Per   1129-000         665,000.00                                  878,938.83
                                                              Order, dkt # 314.

 05/11/12     {25}       GE Capital Commercial Finance        Wire transfer. Settlement pmt. Per   1129-000          39,724.24                                  918,663.07
                                                              Order, dkt # 314.

 05/15/12     {24}       Lakeside Metals Inc                  Preference Settlement. Per Order,    1141-000          17,620.00                                  936,283.07
                                                              dkt # 316.

 05/15/12     124        U.S. Trustee                         Case #11-21650 Outstanding UST       2950-000                            32,925.00                903,358.07
                                                              Fees through 7/12/11, per court
                                                              order docket #314

 05/15/12                GSG Fasteners LLC                    GSG settlement. Wire Transfer        6990-000                           767,000.00                136,358.07
                                                              per court order docket #314

 05/16/12     {24}       Industrial Manufacturing Solutions   Preference Settlement. Per Order,    1141-000           9,803.19                                  146,161.26
                         Inc                                  dkt # 316.

 05/31/12                The Bank of New York Mellon          Bank and Technology Services         2600-000                                806.12               145,355.14
                                                              Fee

 06/08/12     {3}        Regions Bank                         Refunded bank fees                   1129-000           1,091.06                                  146,446.20

 06/29/12                The Bank of New York Mellon          Bank and Technology Services         2600-000                                290.08               146,156.12
                                                              Fee

 07/27/12     {24}       Lamcom, Inc.                         Settlement - Majestic Power, LTD.    1141-000          45,000.00                                  191,156.12
                                                              Per docket # 330.

 07/31/12                The Bank of New York Mellon          Bank and Technology Services         2600-000                                322.53               190,833.59
                                                              Fee

 08/31/12                The Bank of New York Mellon          Bank and Technology Services         2600-000                                404.08               190,429.51
                                                              Fee

 09/12/12     {14}       Liberty Mutual                       Worker's Comp refund                 1129-000          34,419.00                                  224,848.51

 09/24/12     {24}       Videojet Technologies Inc.           Preference Settlement per docket     1141-000           4,400.00                                  229,248.51
                                                              # 342.

 09/26/12     {26}       State of Michigan                    Tax refund                           1224-000              470.00                                 229,718.51

 09/28/12                The Bank of New York Mellon          Bank and Technology Services         2600-000                                400.37               229,318.14
                                                              Fee

 10/03/12     125        General Electric Capital             Refund of Hong Kong reserve,         2990-000                            24,703.50                204,614.64
                         Corporation                          docket #314

 10/05/12     {24}       Hubbard-Hall Inc.                    Preference settlement per docket     1141-000          13,898.00                                  218,512.64
                                                              # 342.

 10/15/12     {14}       Ally                                 Funds to Trustee                     1129-000              760.94                                 219,273.58

 10/31/12                The Bank of New York Mellon          Bank and Technology Services         2600-000                                511.46               218,762.12
                                                              Fee

                                                                                            Page Subtotals:       $833,005.43       $850,802.08       true

{ } Asset Reference(s)          UST Form 101-7-TDR ( 10 /1/2010)                                                              ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:                 11-21650-JRS                                      Trustee Name:                    S. Gregory Hays (300320)
Case Name:                CLARKESVILLE LIQUIDATION INC.                     Bank Name:                       The Bank of New York Mellon
Taxpayer ID #:            **-***9561                                        Account #:                       **********7066 Checking Account
For Period Ending: 05/18/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                            Separate Bond (if applicable): N/A
    1             2                      3                                        4                               5                    6                       7

  Trans.       Check or      Paid To / Received From            Description of Transaction       Uniform       Deposit           Disbursement         Account Balance
   Date         Ref. #                                                                          Tran. Code       $                     $



 11/15/12        {24}     Fuchs Lubricants Co.               Preference settlement per docket   1141-000          53,000.00                                      271,762.12
                                                             # 346.

 11/30/12                 The Bank of New York Mellon        Bank and Technology Services       2600-000                                   498.96                271,263.16
                                                             Fee

 12/03/12        126      Global SFI Holdings, LLC           Per docket #349                    2990-000                               21,700.00                 249,563.16
                                                             Stopped on 12/19/2012

 12/10/12        {24}     Central Wire                       Preference settlement per docket   1141-000          17,500.00                                      267,063.16
                                                             # 684.

 12/13/12                 RABOBANK MIGRATION                 TRANSFER TO *********2088          9999-000                              284,563.16                   -17,500.00
                          TRANSFER OUT                       20121213

 12/19/12        126      Global SFI Holdings, LLC           Per docket #349                    2990-000                              -21,700.00                    4,200.00
                                                             Stopped: check issued on
                                                             12/03/2012

 01/08/13                 RABOBANK MIGRATION                 TRANSFER TO *********2088          9999-000                                4,200.00                        0.00
                          TRANSFER OUT                       20130108

                                             COLUMN TOTALS                                                     3,157,098.17          3,157,098.17                       $0.00
                                                     Less: Bank Transfers/CDs                                    323,947.78           612,708.44
                                             Subtotal                                                          2,833,150.39          2,544,389.73
        true
                                                     Less: Payments to Debtors                                                                0.00

                                             NET Receipts / Disbursements                                     $2,833,150.39         $2,544,389.73


                                                                                                                                                       false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***9561                                          Account #:                         ******2366 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                          3                                       4                                5                 6                     7

  Trans.    Check or        Paid To / Received From            Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                              Tran. Code       $                   $

 12/14/12                RABOBANK MIGRATION                 RABOBANK MIGRATION                   9999-000         284,563.16                                  284,563.16
                         TRANSFER IN

 12/19/12     {24}       Industrial Scales & Systems        Preference Settlement - payment      1141-000              544.95                                 285,108.11
                                                            1 of 10. Docket # 351.

 12/20/12    10127       Global SFI Holdings LLC            Cost to restore electronically       2990-000                            20,998.15                264,109.96
                                                            stored data. Paid per docket #348.

 12/26/12     {14}       Communication Finance              Equipment Finance Credit             1129-000              292.50                                 264,402.46
                                                            balance.

 12/31/12                Rabobank, N.A.                     Bank and Technology Services         2600-000                                377.01               264,025.45
                                                            Fee

 01/09/13                RABOBANK MIGRATION                 RABOBANK MIGRATION                   9999-000           4,200.00                                  268,225.45
                         TRANSFER IN

 01/15/13     {24}       Industrial Scales & Systems        Preference Settlement - payment      1141-000              544.95                                 268,770.40
                                                            2 of 10. Docket # 351.

 01/23/13     {24}       ATS Tech Solutions, Inc.           Preference settlement. Per docket    1141-000           5,200.00                                  273,970.40
                                                            # 682.

 01/31/13                Rabobank, N.A.                     Bank and Technology Services         2600-000                                459.46               273,510.94
                                                            Fee

 02/15/13     {24}       Industrial Scales & Systems        Preference Settlement - payment      1141-000              544.95                                 274,055.89
                                                            3 of 10. Docket # 351.

 02/28/13    10128       GEORGIA DEPT OF REVENUE            FEI#XX-XXXXXXX 2013 Net Worth        2820-000                                 10.00               274,045.89
                                                            Tax
                                                            Voided on 03/01/2013

 02/28/13                Rabobank, N.A.                     Bank and Technology Services         2600-000                                395.60               273,650.29
                                                            Fee

 03/01/13    10128       GEORGIA DEPT OF REVENUE            FEI#XX-XXXXXXX 2013 Net Worth        2820-000                                -10.00               273,660.29
                                                            Tax
                                                            Voided: check issued on
                                                            02/28/2013

 03/14/13     {24}       Industrial Scales & Systems        Preference payment. Per docket       1141-000              544.95                                 274,205.24
                                                            # 351.

 03/29/13     {24}       Georgia Power                      Preference payment. Per docket       1141-000         117,500.00                                  391,705.24
                                                            # 430.

 03/29/13     {24}       Xamax Industries Inc               Preference payment. Per docket       1141-000          10,000.00                                  401,705.24
                                                            # 361.

 03/29/13                Rabobank, N.A.                     Bank and Technology Services         2600-000                                403.01               401,302.23
                                                            Fee

 04/10/13     {24}       Met-Chem                           Preference payment. Per docket       1141-000           9,200.00                                  410,502.23
                                                            # 366.

 04/12/13     {24}       Industrial Scales & Systems        Preference payment. Per docket       1141-000              544.95                                 411,047.18
                                                            # 351.

 04/16/13     {24}       United Healthcare Services, Inc.   Preference payment. Per docket       1141-000          10,000.00                                  421,047.18
                                                            # 440.

 04/30/13                Rabobank, N.A.                     Bank and Technology Services         2600-000                                610.54               420,436.64
                                                            Fee

                                                                                         Page Subtotals:        $443,680.41        $23,243.77       true



{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                          Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                         Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                            Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                                Blanket Bond (per case limit): $30,390,000.00
                                                                             Separate Bond (if applicable): N/A
    1          2                          3                                         4                               5                 6                     7

  Trans.    Check or         Paid To / Received From            Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                               Tran. Code       $                   $

 05/02/13     {24}       Merrill Communications LLC          Preference payment. Per docket       1141-000           6,500.00                                  426,936.64
                                                             # 458.

 05/03/13     {24}       Chem-Aqua                           Preference payment. Per docket       1141-000           4,760.78                                  431,697.42
                                                             # 454.

 05/06/13     {24}       Chromaflo                           Preference payment. Per docket       1141-000           3,000.00                                  434,697.42
                                                             # 455.

 05/06/13     {24}       United of Omaha Life Insurance      Preference payment. Per docket       1141-000           4,125.00                                  438,822.42
                         Company                             # 428.

 05/06/13     {24}       ThyssenKrupp Materials NA           Preference payment. Per docket       1141-000          30,000.00                                  468,822.42
                                                             # 444.

 05/06/13     {24}       Waste Management                    Preference payment. Per docket       1141-000          30,000.00                                  498,822.42
                                                             # 431.

 05/10/13     {24}       Industrial Scales & Systems         Preference payment. Per docket       1141-000              544.95                                 499,367.37
                                                             # 351.

 05/16/13     {24}       Gibbs Wire & Steel Co. Inc.         Preference payment Per Docket #      1141-000           1,000.00                                  500,367.37
                                                             477.

 05/16/13     {27}       Insurance Brokerage Settlement      Insurance brokerage settlement       1290-000              506.97                                 500,874.34

 05/16/13     {14}       UMR, Inc.                           Refund of a duplicate pre-petition   1129-000          14,978.03                                  515,852.37
                                                             insurance payment.

 05/21/13     {24}       EQ Industrial Services, Inc.        Preference payment Per Docket #      1141-000           2,500.00                                  518,352.37
                                                             468.

 05/29/13     {24}       The Hartford                        Preference payment. Per docket       1141-000           2,000.00                                  520,352.37
                                                             # 443.

 05/29/13     {24}       Superior Vision Services, Inc.      Preference payment see docket #      1141-000           2,000.00                                  522,352.37
                                                             686.

 05/31/13                Rabobank, N.A.                      Bank and Technology Services         2600-000                                726.03               521,626.34
                                                             Fee

 06/04/13    10129       GEORGIA DEPT OF REVENUE             Net worth tax                        2820-000                                 10.00               521,616.34
                                                             Voided on 06/05/2013

 06/05/13     {24}       DeLong Equipment Company            Preference payment Per Docket #      1141-000           3,000.00                                  524,616.34
                                                             476.

 06/05/13     {24}       Elgiloy Specialty Metals            Preference payment per docket #      1141-000           6,971.39                                  531,587.73
                                                             453. Adversary against Combined
                                                             Metals of Chicago, LLC

 06/05/13    10129       GEORGIA DEPT OF REVENUE             Net worth tax                        2820-000                                -10.00               531,597.73
                                                             Voided: check issued on
                                                             06/04/2013

 06/14/13     {24}       UL LLC                              Preference payment. Per docket #     1141-000           8,350.00                                  539,947.73
                                                             448.

 06/17/13     {24}       Industrial Scales & Systems         Preference payment. Per docket       1141-000              544.95                                 540,492.68
                                                             # 351.

 06/18/13    10130       Greenberg Traurig, LLP              Professional services rendered                                          152,379.25                388,113.43
                                                             3/1/12 - 4/30/13 per court order
                                                             docket #449.

                                                             Attorney Fees. Paid per Order, Dkt   3210-000                                                     388,113.43

                                                                                           Page Subtotals:       $120,782.07       $153,105.28       true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
                   Case 11-21650-jrs                   Doc 700          Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                               Form 2                                                                            Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                          Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                           3                                      4                               5                 6                     7

  Trans.    Check or         Paid To / Received From          Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                             Tran. Code       $                   $

                                                           # 449.

                                                                                $151,004.00

                                                           Attorney Expenses. Paid per          3220-000                                                  388,113.43
                                                           Order, Dkt # 449.

                                                                                   $1,375.25

 06/18/13    10131       Hays Financial Consulting, LLC    Professional services rendered                                          143,583.60             244,529.83
                                                           3/1/12 - 4/30/13 per court order
                                                           docket #450.

                                                           Accountant Fees. Paid per Order,     3310-000                                                  244,529.83
                                                           Dkt # 550.

                                                                                $141,843.50

                                                           Accountant Expenses. Paid per        3320-000                                                  244,529.83
                                                           Order, Dkt # 550.

                                                                                   $1,740.10

 06/19/13     {24}       Uline                             Preference payment Per Docket #      1141-000           2,000.00                               246,529.83
                                                           479.

 06/21/13     {24}       TCF Equipment Finance Inc         Preference payment per docket #      1141-000           1,785.00                               248,314.83
                                                           457.

 06/24/13     {24}       TCF Equipment Finance, Inc.       Preference payment. See              1141-000           1,785.00                               250,099.83
                                                           reversal.

 06/24/13     {26}       Commonwealth of Kentucky          Tax refund                           1224-000              601.00                              250,700.83

 06/24/13     {24}       TCF Equipment Finance Inc         Reverse deposit of 6/24/13           1141-000          -1,785.00                               248,915.83

 06/28/13                Rabobank, N.A.                    Bank and Technology Services         2600-000                                616.69            248,299.14
                                                           Fee

 07/01/13     {24}       Pivot Precision                   Preference demand amount paid        1141-000           7,914.16                               256,213.30
                                                           in full. Resolve adversary # 13-
                                                           02078.

 07/03/13     {24}       Harcros Chemicals Inc.            Preference payment. Per docket       1141-000          15,629.00                               271,842.30
                                                           # 454.

 07/10/13     {24}       Oxford General Industries, Inc.   Preference payment. Paid per         1141-000           1,500.00                               273,342.30
                                                           Order, Dkt # 520.

 07/10/13     {24}       YRC Worldwide, Inc.               Preference payment. Per docket       1141-000              750.00                              274,092.30
                                                           #459. USF Holland adversary.

 07/12/13     {24}       Industrial Scales & Systems       Preference payment. Per docket       1141-000              544.95                              274,637.25
                                                           # 351.

 07/19/13     {14}       GE Capital                        Refund on Account                    1129-000               23.00                              274,660.25

 07/23/13     {26}       Georgia Department of Revenue     Tax Refund                           1224-000              455.56                              275,115.81

 07/30/13     {24}       FedEx                             Preference payment Per Docket #      1141-000          16,733.86                               291,849.67
                                                           462.

 07/31/13                Rabobank, N.A.                    Bank and Technology Services         2600-000                                423.80            291,425.87
                                                           Fee

 08/06/13     {28}       Commonwealth of Virginia          unclaimed property                   1229-000           7,399.61                               298,825.48

                                                                                          Page Subtotals:       $55,336.14       $144,624.09       true



{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                              ! - transaction has not been cleared
                   Case 11-21650-jrs                     Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                                Desc
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                                                              Form 2                                                                              Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***9561                                          Account #:                         ******2366 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                          3                                       4                                5                 6                     7

  Trans.    Check or         Paid To / Received From           Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                              Tran. Code       $                   $

 08/13/13     {24}       Industrial Scales & Systems        Preference payment - Per docket      1141-000              544.95                              299,370.43
                                                            # 351.

 08/14/13     {24}       John S. James Co.                  Preference payment Per Docket #      1141-000           1,737.00                               301,107.43
                                                            469.

 08/27/13     {24}       Janpak                             Preference payment Per Docket #      1141-000          37,500.00                               338,607.43
                                                            472.

 08/30/13     {24}       MacDermid Inc                      Preference payment Per Docket #      1141-000           3,500.00                               342,107.43
                                                            470.

 08/30/13                Rabobank, N.A.                     Bank and Technology Services         2600-000                                431.79            341,675.64
                                                            Fee

 09/04/13     {24}       Worthington Industries Inc         Precision Sepcialty Metals           1141-000          18,000.00                               359,675.64
                                                            Preference payment. Docket #
                                                            495.

 09/09/13     {24}       Engineered Systems Inc             Preference payment - Per docket      1141-000          13,000.00                               372,675.64
                                                            # 467.

 09/16/13     {24}       Industrial Scales & Systems        Preference payment - Per docket      1141-000              544.95                              373,220.59
                                                            # 351

 09/23/13    10132       Stites & Harbison, PLLC            Professional services rendered,                                          29,462.59             343,758.00
                                                            court order docket #473

                                                            Attorney Fees. Paid per Order, Dkt   3210-000                                                  343,758.00
                                                            # 473.

                                                                                  $29,037.50

                                                            Attorney Expenses. Paid per          3220-000                                                  343,758.00
                                                            Order, Dkt # 473.

                                                                                      $425.09

 09/30/13    10133       Mitchell R Setzer                  Services rendered 8/21/12 -          3731-000                             2,575.00             341,183.00
                                                            1/23/13 per court order docket
                                                            #480

 09/30/13                Rabobank, N.A.                     Bank and Technology Services         2600-000                                505.13            340,677.87
                                                            Fee

 10/01/13     {24}       Prime Leather Finishes Co          Preference payment Per Docket #      1141-000           6,500.00                               347,177.87
                                                            482.

 10/04/13     {24}       Vaughn A Sexton Jr                 Preference payment #1 of 4. Per      1141-000              937.50                              348,115.37
                                                            Docket # 505.

 10/04/13     {24}       Elco Sintered Alloys Co Inc        Preference demand amount paid        1141-000          17,097.73                               365,213.10
                                                            in full. Resolve adversary # 13-
                                                            02045.

 10/23/13     {24}       Tollman Spring Co., Inc.           Preference demand amount paid        1141-000           9,342.54                               374,555.64
                                                            in full. Resolve adversary # 13-
                                                            02060.

 10/30/13     {24}       Vaughn A Sexton Jr                 Preference payment #2 of 4. Per      1141-000              937.50                              375,493.14
                                                            Docket # 505.

 10/31/13                Rabobank, N.A.                     Bank and Technology Services         2600-000                                577.03            374,916.11
                                                            Fee

 11/12/13     {24}       Elco Sintered Alloys Co. Inc.      Preference demand amount paid        1141-000          17,097.73                               392,013.84
                                                            in full. Resolve adversary # 13-

                                                                                          Page Subtotals:       $126,739.90        $33,551.54       true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
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                                                              Form 2                                                                                  Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                         Trustee Name:                         S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                        Bank Name:                            Rabobank, N.A.
Taxpayer ID #:         **-***9561                                           Account #:                            ******2366 Checking Account
For Period Ending: 05/18/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                            Separate Bond (if applicable): N/A
    1          2                          3                                         4                                  5                 6                     7

  Trans.    Check or         Paid To / Received From           Description of Transaction             Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                                  Tran. Code       $                   $

                                                            02045.

 11/29/13                Rabobank, N.A.                     Bank and Technology Services             2600-000                                514.78            391,499.06
                                                            Fee

 12/12/13     {24}       Stoutheart Corporation             Preference payment. Docket #             1141-000          15,000.00                               406,499.06
                                                            507.

 12/12/13     {24}       Marsh                              Preference payment. Docket #             1141-000           1,250.00                               407,749.06
                                                            518.

 12/17/13    10134       Greenberg Traurig, LLP             Professional services rendered                                               80,499.92             327,249.14
                                                            5/1/13 - 10/31/13 by court order
                                                            docket #497

                                                            Attorney Fees. Paid per order, Dkt       3210-000                                                  327,249.14
                                                            # 497.

                                                                                    $78,277.50

                                                            Attorney Expenses. Paid per              3220-000                                                  327,249.14
                                                            order, Dkt # 497.

                                                                                     $2,222.42

 12/30/13     {24}       Vaughn A Sexton Jr                 Preference payment #3 of 4. Per          1141-000              937.50                              328,186.64
                                                            Docket # 505.

 12/31/13                Rabobank, N.A.                     Bank and Technology Services             2600-000                                583.30            327,603.34
                                                            Fee

 01/07/14     {24}       Steinfeld & Steinfeld, PC          Master Tool Mold preference              1141-000           5,000.00                               332,603.34
                                                            payment. Docket # 501.

 01/07/14     {24}       King Supply, Inc.                  Preference payment - Per docket          1141-000          21,000.00                               353,603.34
                                                            # 513.

 01/07/14     {24}       Vaughn A Sexton Jr                 Preference payment #4 of 4. Per          1141-000              937.50                              354,540.84
                                                            Docket # 505.

 01/07/14     {24}       Elco Sintered Alloys Co. Inc.      Preference demand amount paid            1141-000          17,097.74                               371,638.58
                                                            in full. Resolve adversary # 13-
                                                            02045.

 01/07/14    10135       S. Gregory Hays                    First interim fee app per courft                                             88,732.52             282,906.06
                                                            order docket #499

                                                            Trustee Commission. Paid per             2100-000                                                  282,906.06
                                                            order, Dkt # 499.

                                                                                    $88,174.00

                                                            Trustee Expenses. Paid per order,        2200-000                                                  282,906.06
                                                            Dkt # 499.

                                                                                        $558.52

 01/07/14    10136       Hays Financial Consulting, LLC     Third interim fee app per court                                              21,194.90             261,711.16
                                                            order docket #500

                                                            Accountant Fees. Paid per order,         3310-000                                                  261,711.16
                                                            Dkt # 500.

                                                                                    $21,091.00

                                                            Accountant Expenses. Paid per            3320-000                                                  261,711.16
                                                            order, Dkt # 500.



                                                                                               Page Subtotals:       $61,222.74       $191,525.42       true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                   ! - transaction has not been cleared
                   Case 11-21650-jrs                   Doc 700          Filed 06/21/18 Entered 06/21/18 14:13:22                                Desc
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                                                                Form 2                                                                             Exhibit 9
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                                                Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                         Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                        Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***9561                                           Account #:                         ******2366 Checking Account
For Period Ending: 05/18/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                            Separate Bond (if applicable): N/A
    1          2                            3                                       4                               5                 6                     7

  Trans.    Check or         Paid To / Received From            Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                               Tran. Code       $                   $



                                                                                        $103.90

 01/21/14     {24}       Micron Products Inc.                Preference payment - Per docket      1141-000           7,500.00                               269,211.16
                                                             # 513.

 01/31/14                Rabobank, N.A.                      Bank and Technology Services         2600-000                                422.76            268,788.40
                                                             Fee

 02/07/14     {24}       MFM Properties, LLC                 Preference payment - Per docket      1141-000           7,000.00                               275,788.40
                                                             # 508.

 02/14/14     {24}       Mihlfeld & Associates, Inc.         Preference payment - Per docket      1141-000          15,000.00                               290,788.40
                                                             # 513.

 02/21/14     {24}       Sugarloaf Partners LLC              Preference payment Per Docket #      1141-000          26,000.00                               316,788.40
                                                             504.

 02/26/14     {24}       Long & Associates                   Preference claim settlement          1141-000              500.00                              317,288.40
                                                             approved notice (Dkt#683).

 02/28/14     {24}       Duplicating Products, Inc.          Preference payment - Per docket      1141-000           1,500.00                               318,788.40
                                                             # 511.

 02/28/14     {24}       Albatek Industrial Coatings, Inc.   Preference claim settlement          1141-000           4,500.00                               323,288.40
                                                             approved per Order (Dkt #339)
                                                             and notice (Dkt#517).

 02/28/14                Rabobank, N.A.                      Bank and Technology Services         2600-000                                379.05            322,909.35
                                                             Fee

 03/04/14     {24}       The Waterbury Plating Company       Preference payment - Per docket      1141-000           3,000.00                               325,909.35
                                                             # 512.

 03/18/14     {27}       Insurance Brokerage Settlement,     Insurance settlement                 1290-000               39.64                              325,948.99
                         c/o Rust Consulting, Inc.

 03/31/14                Rabobank, N.A.                      Bank and Technology Services         2600-000                                450.79            325,498.20
                                                             Fee

 04/01/14     {24}       Long & Associates                   Preference claim settlement          1141-000              500.00                              325,998.20
                                                             approved notice (Dkt#683).

 04/22/14     {24}       Net Global, Inc.                    Preference payment per docket #      1141-000           7,655.50                               333,653.70
                                                             519. New England Trading Global.

 04/30/14                Rabobank, N.A.                      Bank and Technology Services         2600-000                                502.30            333,151.40
                                                             Fee

 05/30/14                Rabobank, N.A.                      Bank and Technology Services         2600-000                                479.19            332,672.21
                                                             Fee

 06/23/14     {24}       Aurubis Buffalo, Inc.               Preference claim settlement          1141-000         190,000.00                               522,672.21
                                                             approved per Order, Dkt #529.

 06/30/14                Rabobank, N.A.                      Bank and Technology Services         2600-000                                498.98            522,173.23
                                                             Fee

 07/31/14                Rabobank, N.A.                      Bank and Technology Services         2600-000                                826.22            521,347.01
                                                             Fee

 08/22/14     {24}       Long & Associates                   Preference claim settlement          1141-000           1,500.00                               522,847.01
                                                             approved notice (Dkt#683).

 08/27/14     {24}       Nathan Trotter & Co. Inc.           Preference claim settlement          1141-000           5,000.00                               527,847.01


                                                                                           Page Subtotals:       $269,695.14         $3,559.29       true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                ! - transaction has not been cleared
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                                                              Form 2                                                                            Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                      Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                     Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***9561                                        Account #:                         ******2366 Checking Account
For Period Ending: 05/18/2018                                            Blanket Bond (per case limit): $30,390,000.00
                                                                         Separate Bond (if applicable): N/A
    1          2                          3                                      4                               5                 6                     7

  Trans.    Check or        Paid To / Received From          Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                            Tran. Code       $                   $

                                                          approved per Order, Dkt #530.

 08/29/14                Rabobank, N.A.                   Bank and Technology Services         2600-000                                725.17            527,121.84
                                                          Fee

 09/30/14     {27}       Insurance Brokerage Settlement   Insurance settlement                 1290-000              140.55                              527,262.39

 09/30/14                Rabobank, N.A.                   Bank and Technology Services         2600-000                                808.73            526,453.66
                                                          Fee

 10/09/14     {24}       Wilheit Packaging LLC            Preference claim settlement          1141-000           1,000.00                               527,453.66
                                                          approved per Order (Dkt #339)
                                                          and notice (Dkt#537).

 10/31/14    10137       Mitchell R Setzer                Services rendered 7/22/14 -          2990-000                                437.50            527,016.16
                                                          10/6/14 per court order docket
                                                          #480
                                                          Stopped on 12/10/2014

 10/31/14                Rabobank, N.A.                   Bank and Technology Services         2600-000                                783.46            526,232.70
                                                          Fee

 11/03/14     {24}       Midway Electric Inc              Preference claim settlement          1141-000           1,000.00                               527,232.70
                                                          approved per Order (Dkt #339)
                                                          and notice (Dkt#536).

 11/03/14     {24}       H&M Machine & Tooling Inc        Preference claim settlement          1141-000           4,000.00                               531,232.70
                                                          approved per Order (Dkt #339)
                                                          and notice (Dkt#535).

 11/03/14     {24}       Aetna inc                        Preference claim settlement          1141-000          95,000.00                               626,232.70
                                                          approved per Order, Dkt #531.

 11/06/14     {24}       24 Seven Inc                     Preference claim settlement          1141-000          10,500.00                               636,732.70
                                                          approved per Order (Dkt #339)
                                                          and notice (Dkt#540).

 11/06/14     {24}       Isenberg & Hewitt PC             Wheeler Industrial Corp.             1141-000           2,000.00                               638,732.70
                                                          Preference claim settlement
                                                          approved per Order, Dkt #547.
                                                          Payment #1 of 6.

 11/28/14                Rabobank, N.A.                   Bank and Technology Services         2600-000                                802.24            637,930.46
                                                          Fee

 12/04/14    10138       Hays Financial Consulting, LLC   Professional services rendered                                           33,223.03             604,707.43
                                                          11/1/13 - 10/31/14 per order
                                                          docket #546

                                                          Accountants Fees. Paid per order,    3310-000                                                  604,707.43
                                                          Dkt # 546.

                                                                                 $32,744.00

                                                          Accountants Expenses. Paid per       3320-000                                                  604,707.43
                                                          order, Dkt # 546.

                                                                                     $479.03

 12/04/14    10139       S. Gregory Hays                  Professional services rendered       2100-000                            92,827.22             511,880.21
                                                          11/1/13 - 10/31/14 per order
                                                          docket #545
                                                          Voided on 12/04/2014

 12/04/14    10139       S. Gregory Hays                  Professional services rendered       2100-000                           -92,827.22             604,707.43
                                                          11/1/13 - 10/31/14 per order
                                                          docket #545

                                                                                        Page Subtotals:       $113,640.55        $36,780.13       true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                      Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                     Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***9561                                        Account #:                         ******2366 Checking Account
For Period Ending: 05/18/2018                                            Blanket Bond (per case limit): $30,390,000.00
                                                                         Separate Bond (if applicable): N/A
    1          2                          3                                     4                                5                6                      7

  Trans.    Check or        Paid To / Received From          Description of Transaction         Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

                                                          Voided: check issued on
                                                          12/04/2014

 12/04/14    10140       Greenberg Traurig, LLP           Professional services rendered       3210-000                           92,827.22              511,880.21
                                                          11/1/13 - 10/31/14 per order
                                                          docket #545
                                                          Stopped on 12/05/2014

 12/05/14    10140       Greenberg Traurig, LLP           Professional services rendered       3210-000                          -92,827.22              604,707.43
                                                          11/1/13 - 10/31/14 per order
                                                          docket #545
                                                          Stopped: check issued on
                                                          12/04/2014

 12/05/14    10141       Greenberg Traurig, LLP           Professional services rendered                                          92,827.22              511,880.21
                                                          11/1/13 - 10/31/14 per order
                                                          docket #545

                                                          Attorney Fees. Paid per order, Dkt   3210-000                                                  511,880.21
                                                          # 545.

                                                                                $89,255.00

                                                          Attorney Expenses. Paid per          3220-000                                                  511,880.21
                                                          order, Dkt # 545.

                                                                                 $3,572.22

 12/10/14     {24}       Erickson Metals Corp             Preference claim settlement          1141-000          11,000.00                               522,880.21
                                                          approved per Order, Dkt #548.

 12/10/14     {24}       Wheeler Industrial Corp          Preference claim settlement          1141-000           2,000.00                               524,880.21
                                                          approved per Order, Dkt #547.
                                                          Payment #2 of 6.

 12/10/14    10137       Mitchell R Setzer                Services rendered 7/22/14 -          2990-000                               -437.50            525,317.71
                                                          10/6/14 per court order docket
                                                          #480
                                                          Stopped: check issued on
                                                          10/31/2014

 12/20/14    10142       Mitchell R Setzer                Services rendered 7/22/14 -          3731-000                                437.50            524,880.21
                                                          10/6/14 per court order docket
                                                          #561 , replacing check # 10137

 12/30/14     {24}       Wheeler Industrial Corporation   Preference claim settlement          1141-000           2,000.00                               526,880.21
                                                          approved per Order, Dkt #547.
                                                          Payment #3 of 6.

 12/31/14                Rabobank, N.A.                   Bank and Technology Services         2600-000                                918.57            525,961.64
                                                          Fee

 01/28/15     {24}       Wheeler Industrial Corp          Preference claim settlement          1141-000           2,000.00                               527,961.64
                                                          approved per Order, Dkt #547.
                                                          Payment #4 of 6.

 01/28/15     {24}       Greenberg Traurig                Windstream Communications            1141-000           7,500.00                               535,461.64
                                                          Preference Settlement (Adversary
                                                          # 13-68447). Proceeds from
                                                          Greenbert Traurig trust account.
                                                          See docket # 687.

 01/30/15                Rabobank, N.A.                   Bank and Technology Services         2600-000                                757.60            534,704.04
                                                          Fee

 02/03/15     {24}       Sanders Ranch & Skilling PC      Tri-County Machinery preference      1141-000           1,000.00                               535,704.04
                                                          claim settlement per Docket #623.

                                                                                        Page Subtotals:        $25,500.00       $94,503.39        true


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
                   Case 11-21650-jrs                    Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                                 Desc
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                                                              Form 2                                                                               Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                       Trustee Name:                        S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                      Bank Name:                           Rabobank, N.A.
Taxpayer ID #:         **-***9561                                         Account #:                           ******2366 Checking Account
For Period Ending: 05/18/2018                                             Blanket Bond (per case limit): $30,390,000.00
                                                                          Separate Bond (if applicable): N/A
    1          2                          3                                      4                                  5                6                      7

  Trans.    Check or         Paid To / Received From          Description of Transaction           Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                               Tran. Code       $                  $

 02/25/15     {24}       Wheeler Industrial Corporation    Preference claim settlement            1141-000           2,000.00                               537,704.04
                                                           approved per Order, Dkt #547.
                                                           Payment #5 of 6.

 02/27/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                719.56            536,984.48
                                                           Fee

 03/31/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                823.86            536,160.62
                                                           Fee

 04/30/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                771.18            535,389.44
                                                           Fee

 05/12/15     {24}       Wheeler Industrial Corporation    Preference claim settlement            1141-000           2,000.00                               537,389.44
                                                           approved per Order, Dkt #547.
                                                           Payment #6 of 6.

 05/29/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                745.84            536,643.60
                                                           Fee

 06/08/15     {24}       Ulbrich Stainless Steel           Preference claim settlement            1141-000          50,000.00                               586,643.60
                                                           approved per Order, Dkt #620.

 06/30/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                873.68            585,769.92
                                                           Fee

 07/31/15     {24}       Hays Potter & Martin LLP for      Preference payment - final             1141-000         100,000.00                               685,769.92
                         Ulbrich of Illinois               payment of $150,000.00
                                                           settlement. Order - Dkt # 620.

 07/31/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                870.62            684,899.30
                                                           Fee

 08/31/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                937.90            683,961.40
                                                           Fee

 09/30/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                            1,049.45              682,911.95
                                                           Fee

 10/08/15    10143       Mitchell R. Setzer                Per court order docket #624            3731-000                            2,306.25              680,605.70

 10/21/15     {14}       GSG Fasteners LLC dba Scovill     Returned premium for a 2009-           1129-000           1,335.00                               681,940.70
                         Fasteners                         2010 cancelled bond from Mercer
                                                           Health

 10/30/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                982.78            680,957.92
                                                           Fees

 11/09/15     {24}       Resolve Environmental             Settlement of adversary # 13-          1141-000           2,000.00                               682,957.92
                         Engineering inc                   02079. See doc. no. 685.

 11/30/15                Rabobank, N.A.                    Bank and Technology Services           2600-000                                948.86            682,009.06
                                                           Fees

 12/16/15    10144       Greenberg Trauriig LLP            Per court order docket #630            3210-000                           77,400.75              604,608.31
                                                           Voided on 12/16/2015

 12/16/15    10144       Greenberg Trauriig LLP            Per court order docket #630            3210-000                          -77,400.75              682,009.06
                                                           Voided: check issued on
                                                           12/16/2015

 12/16/15    10145       Greenberg Trauriig LLP            Per court order docket #630                                               77,400.75              604,608.31

                                                           Attorney Expenses. Per court           3220-000                                                  604,608.31
                                                           order docket # 630


                                                                                            Page Subtotals:      $157,335.00       $88,430.73        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                   Case 11-21650-jrs                 Doc 700         Filed 06/21/18 Entered 06/21/18 14:13:22                               Desc
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                                                              Form 2                                                                            Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                      Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                     Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***9561                                        Account #:                         ******2366 Checking Account
For Period Ending: 05/18/2018                                            Blanket Bond (per case limit): $30,390,000.00
                                                                         Separate Bond (if applicable): N/A
    1          2                          3                                     4                                5                6                      7

  Trans.    Check or        Paid To / Received From          Description of Transaction         Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $



                                                                                 $2,868.75

                                                          Attorney Fees. Per court order       3210-000                                                  604,608.31
                                                          docket # 630

                                                                                $74,532.00

 12/31/15                Rabobank, N.A.                   Bank and Technology Services         2600-000                            1,027.20              603,581.11
                                                          Fees

 01/04/16    10146       Hays Financial Consulting, LLC   Per DE #632 Period 11/01/14                                             17,114.23              586,466.88
                                                          through 10/31/15 Fees $16,782.00
                                                          Expenses $332.23

                                                          Per DE 632 Period 11/01/14           3310-000                                                  586,466.88
                                                          through 10/31/15

                                                                                $16,782.00

                                                          Per DE 632 Period 11/01/14           3320-000                                                  586,466.88
                                                          through 10/31/15

                                                                                    $332.23

 01/29/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                819.82            585,647.06
                                                          Fees

 03/01/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                812.06            584,835.00
                                                          Fees

 03/31/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                922.90            583,912.10
                                                          Fees

 04/29/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                809.65            583,102.45
                                                          Fees

 05/31/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                808.53            582,293.92
                                                          Fees

 06/30/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                918.89            581,375.03
                                                          Fees

 07/29/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                806.13            580,568.90
                                                          Fees

 08/31/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                916.06            579,652.84
                                                          Fees

 09/30/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                831.46            578,821.38
                                                          Fees

 10/31/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                802.59            578,018.79
                                                          Fees

 11/30/16                Rabobank, N.A.                   Bank and Technology Services         2600-000                                884.47            577,134.32
                                                          Fees

 12/14/16    10147       Morris, Manning & Martin LLP     Attorney fees and expenses per                                          14,517.75              562,616.57
                                                          Order, Dkt # 670

                                                          Attorney fees per Order, Dkt # 670   3210-000                                                  562,616.57

                                                                                $14,505.50

                                                          Attorney expenses per Order, Dkt     3220-000                                                  562,616.57
                                                          # 670

                                                                                       Page Subtotals:               $0.00      $41,991.74        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
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                                                               Form 2                                                                              Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                       Trustee Name:                        S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                      Bank Name:                           Rabobank, N.A.
Taxpayer ID #:         **-***9561                                         Account #:                           ******2366 Checking Account
For Period Ending: 05/18/2018                                             Blanket Bond (per case limit): $30,390,000.00
                                                                          Separate Bond (if applicable): N/A
    1          2                           3                                     4                                  5                6                      7

  Trans.    Check or         Paid To / Received From          Description of Transaction           Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                               Tran. Code       $                  $



                                                                                     $12.25

 12/14/16    10148       Greenberg Traurig, LLP            Attorney fees and expenses per                                            41,997.97              520,618.60
                                                           Order, Dkt # 669.

                                                           Attorney fees per Order, Dkt #         3210-000                                                  520,618.60
                                                           669.

                                                                                 $40,683.00

                                                           Attorney expenses per Order, Dkt       3220-000                                                  520,618.60
                                                           # 669.

                                                                                  $1,314.97

 12/30/16                Rabobank, N.A.                    Bank and Technology Services           2600-000                                788.01            519,830.59
                                                           Fees

 01/03/17     {24}       Select Staffing                   Settlement of avoidance action #       1141-000           9,500.00                               529,330.59
                                                           13-02044. Docket # 665.

 01/31/17                Rabobank, N.A.                    Bank and Technology Services           2600-000                                809.70            528,520.89
                                                           Fees

 02/28/17                Rabobank, N.A.                    Bank and Technology Services           2600-000                                709.52            527,811.37
                                                           Fees

 03/31/17                Rabobank, N.A.                    Bank and Technology Services           2600-000                                784.48            527,026.89
                                                           Fees

 12/11/17    10149       S. Gregory Hays                   Trustee commission and                                                    58,868.77              468,158.12
                                                           expenses awarded per Order,
                                                           Doc. No. 695.

                                                           Trustee commission awarded per         2100-000                                                  468,158.12
                                                           Order, Doc. No. 695.

                                                                                 $52,910.65

                                                           Trustee expenses awarded per           2200-000                                                  468,158.12
                                                           Order, Doc. No. 695.

                                                                                  $5,958.12

 12/11/17    10150       Hays Financial Consulting, LLC    Accountant fees awarded per            3310-000                           21,889.00              446,269.12
                                                           Order, Doc. No. 695.

 12/11/17    10151       Hays Financial Consulting, LLC    Accountant expenses awarded per        3320-000                                260.97            446,008.15
                                                           Order, Doc. No. 695.

 12/11/17    10152       Greenberg Traurig, LLP            Attorney fees awarded per Order,       3210-000                           19,843.50              426,164.65
                                                           Doc. No. 695.

 12/11/17    10153       Greenberg Traurig, LLP            Attorney expenses awarded per          3220-000                                131.28            426,033.37
                                                           Order, Doc. No. 695.

 12/11/17    10154       Clerk, United States Bankruptcy   Final Distribution. Paid per TFR       2700-000                           17,287.00              408,746.37
                         Court                             (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10155       Greenberg Traurig, LLP            Final Distribution. Paid per TFR       6700-140                           57,741.51              351,004.86
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10156       Texas Comptroller of Public       Final Distribution. Paid per TFR       6820-000                            2,867.81              348,137.05
                         Accounts                          (Dkt No. 692) and NFR (Dkt No.

                                                                                            Page Subtotals:        $9,500.00      $223,979.52        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                   Case 11-21650-jrs                    Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                              Form 2                                                                            Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                       Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                      Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                         Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                             Blanket Bond (per case limit): $30,390,000.00
                                                                          Separate Bond (if applicable): N/A
    1          2                          3                                      4                               5                6                      7

  Trans.    Check or         Paid To / Received From          Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

                                                           693)

 12/11/17    10157       Shields, Thomas A                 Final Distribution. Paid per TFR    6990-000                                790.00            347,347.05
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10158       Anderson, Madeleine T             Final Distribution. Paid per TFR    6990-000                                362.70            346,984.35
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped on 03/23/2018

 12/11/17    10159       DeBlasio, Carmen                  Final Distribution. Paid per TFR    6990-000                                302.02            346,682.33
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped on 03/23/2018

 12/11/17    10160       AuCoin, Tena M                    Final Distribution. Paid per TFR    6990-000                                395.00            346,287.33
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10161       Lovelace, Eula C.                 Final Distribution. Paid per TFR    6990-000                                395.00            345,892.33
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10162       Mango, Paulette A                 Final Distribution. Paid per TFR    6990-000                                395.00            345,497.33
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped on 03/23/2018

 12/11/17    10163       State of Connecticut              Final Distribution. Paid per TFR    6820-000                                300.00            345,197.33
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10164       United States Plastic Corp        Final Distribution. Paid per TFR    6990-000                                 53.64            345,143.69
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10165       Ray Camp Company                  Final Distribution. Paid per TFR    6990-000                                264.96            344,878.73
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10166       Greenville County Tax Collect     Final Distribution. Paid per TFR    6820-000                                 36.40            344,842.33
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped on 03/23/2018

 12/11/17    10167       Franklin County Trustee           Final Distribution. Paid per TFR    6820-000                                 44.00            344,798.33
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10168       Indiana Department of Revenue     Final Distribution. Paid per TFR    6820-000                            1,667.38              343,130.95
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10169       Iredell County Tax Collector      Final Distribution. Paid per TFR    6820-000                                 72.21            343,058.74
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

                                                                                         Page Subtotals:             $0.00       $5,078.31        true



{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
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                                                              Form 2                                                                            Exhibit 9
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                                              Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                       Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                      Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                         Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                             Blanket Bond (per case limit): $30,390,000.00
                                                                          Separate Bond (if applicable): N/A
    1          2                         3                                       4                               5                6                      7

  Trans.    Check or        Paid To / Received From           Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

 12/11/17    10170       Wake County Revenue               Final Distribution. Paid per TFR    6820-000                                293.07            342,765.67
                         Department                        (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10171       GEORGIA DEPARTMENT OF             Final Distribution. Paid per TFR    6820-000                           13,508.28              329,257.39
                         REVENUE                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10172       BMC Group                         Final Distribution. Paid per TFR    6700-000                           62,540.77              266,716.62
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10173       Mississippi Department of         Final Distribution. Paid per TFR    5800-000                            1,439.30              265,277.32
                         Revenue                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10174       Oklahoma Tax Commission           Final Distribution. Paid per TFR    5800-000                                299.42            264,977.90
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10175       Commonwealth of Massachusetts     Final Distribution. Paid per TFR    5800-000                            2,247.28              262,730.62
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10176       State of Louisiana                Final Distribution. Paid per TFR    5800-000                                915.27            261,815.35
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10177       McLennan County                   Final Distribution. Paid per TFR    5800-000                                 32.86            261,782.49
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped on 03/23/2018

 12/11/17    10178       Michigan Department of Treasury   Final Distribution. Paid per TFR    5800-000                            6,196.36              255,586.13
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10179       Mississippi Department of         Final Distribution. Paid per TFR    5800-000                                151.50            255,434.63
                         Revenue                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10180       Mississippi Department of         Final Distribution. Paid per TFR    5800-000                                150.00            255,284.63
                         Revenue                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10181       Texas Comptroller of Public       Final Distribution. Paid per TFR    5800-000                            5,565.89              249,718.74
                         Accounts                          (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10182       Virginia Department of Taxation   Final Distribution. Paid per TFR    5800-000                            2,582.25              247,136.49
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10183       City and County of                Final Distribution. Paid per TFR    5800-000                                232.00            246,904.49
                         Denver/Treasury                   (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10184       FLORIDA DEPARTMENT OF             Final Distribution. Paid per TFR    5800-000                            1,186.11              245,718.38
                         REVENUE                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10185       S.C. Department of Revenue        Final Distribution. Paid per TFR    5800-000                            5,795.68              239,922.70
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

                                                                                         Page Subtotals:             $0.00     $103,136.04        true


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
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                                                                                                                                               Page: 21
                                             Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                      Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                     Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                        Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                            Blanket Bond (per case limit): $30,390,000.00
                                                                         Separate Bond (if applicable): N/A
    1          2                         3                                      4                               5                6                      7

  Trans.    Check or        Paid To / Received From          Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                  $

 12/11/17    10186       Fountain County Treasurer        Final Distribution. Paid per TFR    5800-000                                374.19            239,548.51
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10187       Collector of Revenue             Final Distribution. Paid per TFR    5800-000                                 24.59            239,523.92
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10188       Revenue Comm Tallapoosa          Final Distribution. Paid per TFR    5800-000                                183.50            239,340.42
                         County                           (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10189       NY State Dept of Taxation and    Final Distribution. Paid per TFR    5800-000                            1,179.91              238,160.51
                         Finance                          (Dkt No. 692) and NFR (Dkt No.
                                                          693). Check stopped. Unclaimed
                                                          funds paid into registry of the
                                                          court.
                                                          Stopped on 03/23/2018

 12/11/17    10190       White County Trustee             Final Distribution. Paid per TFR    5800-000                                 54.00            238,106.51
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693). Check stopped. Unclaimed
                                                          funds paid into registry of the
                                                          court.
                                                          Stopped on 03/23/2018

 12/11/17    10191       Mississippi Department of        Final Distribution. Paid per TFR    5800-000                                150.00            237,956.51
                         Revenue                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10192       GEORGIA DEPARTMENT OF            Final Distribution. Paid per TFR    5800-000                           24,840.00              213,116.51
                         REVENUE                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10193       Jefferson County Trustee         Final Distribution. Paid per TFR    5800-000                                 87.00            213,029.51
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10194       Jefferson County Trustee         Final Distribution. Paid per TFR    5800-000                                338.00            212,691.51
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10195       Jefferson County Trustee         Final Distribution. Paid per TFR    5800-000                                 38.00            212,653.51
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10196       Nebraska Department of           Final Distribution. Paid per TFR    5800-000                                474.25            212,179.26
                         Revenue                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10197       Union County                     Final Distribution. Paid per TFR    5800-000                                  5.51            212,173.75
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10198       Franchise Tax Board              Final Distribution. Paid per TFR    5800-000                                825.32            211,348.43
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10199       Gwinnett County Tax Comm.        Final Distribution. Paid per TFR    5800-000                                379.51            210,968.92
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10200       State Board of Equalization      Final Distribution. Paid per TFR    5800-000                            2,366.63              208,602.29
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

                                                                                        Page Subtotals:             $0.00      $31,320.41        true



{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                           ! - transaction has not been cleared
                   Case 11-21650-jrs                  Doc 700           Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                             Form 2                                                                               Exhibit 9
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                                             Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                         Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                        Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                           Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                            Separate Bond (if applicable): N/A
    1          2                         3                                         4                               5                6                      7

  Trans.    Check or        Paid To / Received From             Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                              Tran. Code       $                  $

 12/11/17    10201       Vermont Department of Taxes         Final Distribution. Paid per TFR    5800-000                                506.00            208,096.29
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10202       Tishomingo County Tax Collect       Final Distribution. Paid per TFR    5800-000                                326.66            207,769.63
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10203       Lafayette County Tax Collector      Final Distribution. Paid per TFR    5800-000                                 62.17            207,707.46
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10204       New York State Department of        Final Distribution. Paid per TFR    5800-000                            2,122.56              205,584.90
                         Taxation                            (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10205       Henry County Tax Comm.              Final Distribution. Paid per TFR    5800-000                                236.34            205,348.56
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10206       Tennessee Department of             Final Distribution. Paid per TFR    5800-000                                 59.80            205,288.76
                         Revenue                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10207       Automated Packaging Systems         Final Distribution. Paid per TFR    7100-000                                 12.70            205,276.06
                         Inc                                 (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10208       Majestic Power GZ Ltd               Final Distribution. Paid per TFR    7100-000                            9,835.35              195,440.71
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped and replaced
                                                             by check # 10276.
                                                             Stopped on 01/23/2018

 12/11/17    10209       Los Angeles County Treasurer        Final Distribution. Paid per TFR    7100-000                                 77.96            195,362.75
                         and                                 (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10210       Wells Fargo Equipment Finance       Final Distribution. Paid per TFR    7100-000                                115.75            195,247.00
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10211       De Lage Landen Financial Svc        Final Distribution. Paid per TFR    7100-000                                119.30            195,127.70
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10212       CIT Technology Financing            Final Distribution. Paid per TFR    7100-000                                 59.14            195,068.56
                         Services Inc                        (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped on 03/23/2018

 12/11/17    10213       Fedex Freight Inc                   Final Distribution. Paid per TFR    7100-000                                100.29            194,968.27
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10214       Fisher Scientific Co LLC            Final Distribution. Paid per TFR    7100-000                                 24.25            194,944.02
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693)

 12/11/17    10215       Industrial Scales and Systems Inc   Final Distribution. Paid per TFR    7100-000                                  9.54            194,934.48
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped on 03/23/2018

                                                                                           Page Subtotals:             $0.00      $13,667.81        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                              ! - transaction has not been cleared
                   Case 11-21650-jrs                     Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                             Form 2                                                                              Exhibit 9
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                                             Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                          Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                         3                                        4                               5                6                      7

  Trans.    Check or        Paid To / Received From            Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                             Tran. Code       $                  $



 12/11/17    10216       Canon Financial Services Inc       Final Distribution. Paid per TFR    7100-000                                601.29            194,333.19
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10217       BDO USA LLP                        Final Distribution. Paid per TFR    7100-000                                523.82            193,809.37
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10218       Womble Carlyle Sandridge Rice      Final Distribution. Paid per TFR    7100-000                                719.31            193,090.06
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10219       National Standards Authority       Final Distribution. Paid per TFR    7100-000                                 26.21            193,063.85
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10220       Letourneau, Norman                 Final Distribution. Paid per TFR    7100-000                                 23.17            193,040.68
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10221       United Parcel Service Freight      Final Distribution. Paid per TFR    7100-000                                462.08            192,578.60
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10222       United Parcel Service Freight      Final Distribution. Paid per TFR    7100-000                                154.77            192,423.83
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10223       GBC Metals LLC DBA Olin Brass      Final Distribution. Paid per TFR    7100-000                           20,925.96              171,497.87
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10224       NEC Financial Services, LLC        Final Distribution. Paid per TFR    7100-000                                709.69            170,788.18
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10225       Fedex Techconnect                  Final Distribution. Paid per TFR    7100-000                                227.80            170,560.38
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10226       OSG-Sterling Die Inc               Final Distribution. Paid per TFR    7100-000                                  5.86            170,554.52
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10227       Master Tool and Mold Inc           Final Distribution. Paid per TFR    7100-000                            1,069.58              169,484.94
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10228       US Bank NA dba US Bank             Final Distribution. Paid per TFR    7100-000                                190.60            169,294.34
                         Equipment Finance                  (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10229       Virginia Department of Taxation    Final Distribution. Paid per TFR    7100-000                                 12.61            169,281.73
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10230       Janpak Inc                         Final Distribution. Paid per TFR    7100-000                                852.68            168,429.05
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

 12/11/17    10231       Sugarloaf Partners, LLC            Final Distribution. Paid per TFR    7100-000                                718.56            167,710.49
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693)

                                                                                          Page Subtotals:             $0.00      $27,223.99        true



{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
                   Case 11-21650-jrs                   Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                               Form 2                                                                          Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                      Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                     Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                        Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                            Blanket Bond (per case limit): $30,390,000.00
                                                                         Separate Bond (if applicable): N/A
    1          2                           3                                    4                               5                6                      7

  Trans.    Check or         Paid To / Received From         Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                  $

 12/11/17    10232       Hill, Donald E.                  Final Distribution. Paid per TFR    7100-000                                 92.69            167,617.80
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10233       Peach State Fire Inc.            Final Distribution. Paid per TFR    7100-000                                 16.09            167,601.71
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10234       Wall, Lois H                     Final Distribution. Paid per TFR    7100-000                                 55.17            167,546.54
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693). Check stopped. Unclaimed
                                                          funds paid into registry of the
                                                          court.
                                                          Stopped on 03/23/2018

 12/11/17    10235       Cleveland, Kenneth               Final Distribution. Paid per TFR    7100-000                                264.82            167,281.72
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10236       Davino, Charles V                Final Distribution. Paid per TFR    7100-000                                110.34            167,171.38
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10237       BDO Dunwoody                     Final Distribution. Paid per TFR    7100-000                                107.41            167,063.97
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693). Check stopped. Unclaimed
                                                          funds paid into registry of the
                                                          court.
                                                          Stopped on 03/23/2018

 12/11/17    10238       Georgia Power Company            Final Distribution. Paid per TFR    7100-000                            1,370.86              165,693.11
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10239       Momar Inc                        Final Distribution. Paid per TFR    7100-000                                 15.98            165,677.13
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10240       Allen, Pearl H                   Final Distribution. Paid per TFR    7100-000                                 55.17            165,621.96
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10241       Tri-State Tubular Rivet Co.      Final Distribution. Paid per TFR    7100-000                                 25.77            165,596.19
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10242       Habersham Hospital               Final Distribution. Paid per TFR    7100-000                                 42.63            165,553.56
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10243       Bochicchio, Helen                Final Distribution. Paid per TFR    7100-000                                  9.69            165,543.87
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693). Check stopped. Unclaimed
                                                          funds paid into registry of the
                                                          court.
                                                          Stopped on 03/23/2018

 12/11/17    10244       Laser SOS USA Inc                Final Distribution. Paid per TFR    7100-000                                  5.71            165,538.16
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693). Check stopped. Unclaimed
                                                          funds paid into registry of the
                                                          court.
                                                          Stopped on 03/23/2018

 12/11/17    10245       Allen, Claude                    Final Distribution. Paid per TFR    7100-000                                 79.45            165,458.71
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

                                                                                        Page Subtotals:             $0.00       $2,251.78        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                           ! - transaction has not been cleared
                   Case 11-21650-jrs                   Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                               Form 2                                                                          Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                      Trustee Name:                     S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                     Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***9561                                        Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                            Blanket Bond (per case limit): $30,390,000.00
                                                                         Separate Bond (if applicable): N/A
    1          2                           3                                    4                               5                6                      7

  Trans.    Check or         Paid To / Received From         Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                  $

 12/11/17    10246       Lab Safety Supply                Final Distribution. Paid per TFR    7100-000                                  5.17            165,453.54
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10247       Dziura, Walter                   Final Distribution. Paid per TFR    7100-000                                176.55            165,276.99
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10248       Utility Service Group, Inc.      Final Distribution. Paid per TFR    7100-000                                487.23            164,789.76
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10249       Jurewicz, Bertha P               Final Distribution. Paid per TFR    7100-000                                  8.00            164,781.76
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10250       Zubik, Daniel                    Final Distribution. Paid per TFR    7100-000                                  8.72            164,773.04
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10251       Collins, Dorothy M               Final Distribution. Paid per TFR    7100-000                                 55.17            164,717.87
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10252       Frates, Alice                    Final Distribution. Paid per TFR    7100-000                                 14.76            164,703.11
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10253       Micron Products, Inc.            Final Distribution. Paid per TFR    7100-000                                132.37            164,570.74
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10254       Sedlak, Edward                   Final Distribution. Paid per TFR    7100-000                                 44.14            164,526.60
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10255       Feltz, Robert W                  Final Distribution. Paid per TFR    7100-000                                115.65            164,410.95
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10256       Boucher, Donald                  Final Distribution. Paid per TFR    7100-000                                 26.48            164,384.47
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10257       Boucher, Donald                  Final Distribution. Paid per TFR    7100-000                                  7.11            164,377.36
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10258       Boucher, Donald                  Final Distribution. Paid per TFR    7100-000                                224.92            164,152.44
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10259       Distasi, Joseph                  Final Distribution. Paid per TFR    7100-000                                 44.14            164,108.30
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693). Check stopped. Unclaimed
                                                          funds paid into registry of the
                                                          court.
                                                          Stopped on 03/23/2018

 12/11/17    10260       Duplicating Products, Inc        Final Distribution. Paid per TFR    7100-000                                 26.38            164,081.92
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

 12/11/17    10261       ALLTECK GmbH                     Final Distribution. Paid per TFR    7100-000                                190.11            163,891.81
                                                          (Dkt No. 692) and NFR (Dkt No.
                                                          693)

                                                                                        Page Subtotals:             $0.00       $1,566.90        true


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                           ! - transaction has not been cleared
                   Case 11-21650-jrs                    Doc 700       Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                             Form 2                                                                            Exhibit 9
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                                             Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                    S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                       Rabobank, N.A.
Taxpayer ID #:         **-***9561                                          Account #:                       ******2366 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                         3                                        4                              5                6                     7

  Trans.    Check or        Paid To / Received From           Description of Transaction        Uniform       Deposit        Disbursement       Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

 12/11/17    10262       Ashworth, Kenneth A               Final Distribution. Paid per TFR    7100-000                                23.17            163,868.64
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10263       Hinds County Tax Collector        Final Distribution. Paid per TFR    7100-000                                10.71            163,857.93
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10264       Boucher, Donald A                 Final Distribution. Paid per TFR    7100-000                                23.17            163,834.76
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10265       Boucher, Roland A                 Final Distribution. Paid per TFR    7100-000                                23.17            163,811.59
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10266       Clerk of the U.S. Bankruptcy      Combined small dividends. Check                                             26.41            163,785.18
                         Court                             stopped. Replaced by Check #
                                                           10279.
                                                           Stopped on 03/23/2018

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $1.03

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $0.52

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $4.79

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $0.64

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $4.47

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $3.92

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $3.95

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $1.11

                                                           Claims Distribution - Thu, 09-28-   7100-001                                                 163,785.18
                                                           2017

                                                                                       $4.98

                                                           Claims Distribution - Thu, 09-28-   5800-001                                                 163,785.18
                                                           2017

                                                                                       $1.00

                                                                                         Page Subtotals:             $0.00         $106.63       true


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
                   Case 11-21650-jrs                  Doc 700         Filed 06/21/18 Entered 06/21/18 14:13:22                              Desc
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                                                                Form 2                                                                          Exhibit 9
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                                                Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                    S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                       Rabobank, N.A.
Taxpayer ID #:         **-***9561                                          Account #:                       ******2366 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                            3                                     4                              5                6                      7

  Trans.    Check or         Paid To / Received From          Description of Transaction        Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                            Tran. Code       $                  $

 12/11/17    10267       Ciarlo, Nicolina                  Final Distribution. Paid per TFR    7100-000                                 44.14            163,741.04
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped on 03/23/2018

 12/11/17    10268       Ciarlo, Nicolina                  Final Distribution. Paid per TFR    7100-000                                 18.80            163,722.24
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped on 03/23/2018

 12/11/17    10269       General Electric Capital          Final Distribution. Paid per TFR    7100-000                          162,283.67                  1,438.57
                         Corporation                       (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check Stopped and
                                                           replaced by check # 10277.
                                                           Stopped on 03/14/2018

 12/11/17    10270       Industrial Manufacturing          Final Distribution. Paid per TFR    7100-000                                 77.24                1,361.33
                         Solutions, Inc.                   (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10271       Lakeside Metals, Inc.             Final Distribution. Paid per TFR    7100-000                                194.42                1,166.91
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10272       OMelveny and Myers LLP            Final Distribution. Paid per TFR    7100-000                                935.29                 231.62
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10273       Department of the Treasury        Final Distribution. Paid per TFR    7100-000                                 33.24                 198.38
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10274       Department of the Treasury        Final Distribution. Paid per TFR    7100-000                                193.35                    5.03
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 12/11/17    10275       Commonwealth of Massachusetts     Final Distribution. Paid per TFR    7100-000                                  5.03                    0.00
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693)

 01/23/18    10208       Majestic Power GZ Ltd             Final Distribution. Paid per TFR    7100-000                           -9,835.35                  9,835.35
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped and replaced
                                                           by check # 10276.
                                                           Stopped: check issued on
                                                           12/11/2017

 01/24/18    10276       Majestic Power Ltd                Final Distribution. Paid per TFR    7100-000                            9,835.35                      0.00
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Replaced Check # 10208.

 03/14/18    10269       General Electric Capital          Final Distribution. Paid per TFR    7100-000                         -162,283.67              162,283.67
                         Corporation                       (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check Stopped and
                                                           replaced by check # 10277.
                                                           Stopped: check issued on
                                                           12/11/2017

 03/19/18    10277       General Electric Capital          Final Distribution. Paid per TFR    7100-000                          162,283.67                      0.00
                         Corporation c/o King & Spalding   (Dkt No. 692) and NFR (Dkt No.
                                                           693). Replaces Check # 10269.

 03/23/18    10158       Anderson, Madeleine T             Final Distribution. Paid per TFR    6990-000                               -362.70                 362.70

                                                                                         Page Subtotals:             $0.00     $163,422.48        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                            ! - transaction has not been cleared
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                                             Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                         Trustee Name:                    S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                        Bank Name:                       Rabobank, N.A.
Taxpayer ID #:         **-***9561                                           Account #:                       ******2366 Checking Account
For Period Ending: 05/18/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                            Separate Bond (if applicable): N/A
    1          2                         3                                         4                              5                6                      7

  Trans.    Check or        Paid To / Received From             Description of Transaction       Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                             Tran. Code       $                  $

                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10159       DeBlasio, Carmen                    Final Distribution. Paid per TFR   6990-000                               -302.02                 664.72
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10162       Mango, Paulette A                   Final Distribution. Paid per TFR   6990-000                               -395.00                1,059.72
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10166       Greenville County Tax Collect       Final Distribution. Paid per TFR   6820-000                                -36.40                1,096.12
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10177       McLennan County                     Final Distribution. Paid per TFR   5800-000                                -32.86                1,128.98
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10189       NY State Dept of Taxation and       Final Distribution. Paid per TFR   5800-000                           -1,179.91                  2,308.89
                         Finance                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10190       White County Trustee                Final Distribution. Paid per TFR   5800-000                                -54.00                2,362.89
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10212       CIT Technology Financing            Final Distribution. Paid per TFR   7100-000                                -59.14                2,422.03
                         Services Inc                        (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the
                                                             court.
                                                             Stopped: check issued on
                                                             12/11/2017

 03/23/18    10215       Industrial Scales and Systems Inc   Final Distribution. Paid per TFR   7100-000                                 -9.54                2,431.57
                                                             (Dkt No. 692) and NFR (Dkt No.
                                                             693). Check stopped. Unclaimed
                                                             funds paid into registry of the


                                                                                          Page Subtotals:             $0.00      -$2,068.87        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
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                                                               Form 2                                                                          Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                       Trustee Name:                    S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                      Bank Name:                       Rabobank, N.A.
Taxpayer ID #:         **-***9561                                         Account #:                       ******2366 Checking Account
For Period Ending: 05/18/2018                                             Blanket Bond (per case limit): $30,390,000.00
                                                                          Separate Bond (if applicable): N/A
    1          2                           3                                     4                              5                6                      7

  Trans.    Check or        Paid To / Received From           Description of Transaction       Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                  $

                                                           court.
                                                           Stopped: check issued on
                                                           12/11/2017

 03/23/18    10234       Wall, Lois H                      Final Distribution. Paid per TFR   7100-000                                -55.17                2,486.74
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped: check issued on
                                                           12/11/2017

 03/23/18    10237       BDO Dunwoody                      Final Distribution. Paid per TFR   7100-000                               -107.41                2,594.15
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped: check issued on
                                                           12/11/2017

 03/23/18    10243       Bochicchio, Helen                 Final Distribution. Paid per TFR   7100-000                                 -9.69                2,603.84
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped: check issued on
                                                           12/11/2017

 03/23/18    10244       Laser SOS USA Inc                 Final Distribution. Paid per TFR   7100-000                                 -5.71                2,609.55
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped: check issued on
                                                           12/11/2017

 03/23/18    10259       Distasi, Joseph                   Final Distribution. Paid per TFR   7100-000                                -44.14                2,653.69
                                                           (Dkt No. 692) and NFR (Dkt No.
                                                           693). Check stopped. Unclaimed
                                                           funds paid into registry of the
                                                           court.
                                                           Stopped: check issued on
                                                           12/11/2017

 03/23/18    10266       Clerk of the U.S. Bankruptcy      Combined small dividends. Check                                            -26.41                2,680.10
                         Court                             stopped. Replaced by Check #
                                                           10279.
                                                           Stopped: check issued on
                                                           12/11/2017

                                                                                              7100-001                                                      2,680.10

                                                                                      $1.03

                                                                                              7100-001                                                      2,680.10

                                                                                      $0.52

                                                                                              7100-001                                                      2,680.10

                                                                                      $4.79

                                                                                              7100-001                                                      2,680.10

                                                                                      $0.64

                                                                                              7100-001                                                      2,680.10

                                                                                      $4.47

                                                                                        Page Subtotals:             $0.00        -$248.53        true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                           ! - transaction has not been cleared
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                                                Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                         Trustee Name:                      S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                        Bank Name:                         Rabobank, N.A.
Taxpayer ID #:         **-***9561                                           Account #:                         ******2366 Checking Account
For Period Ending: 05/18/2018                                               Blanket Bond (per case limit): $30,390,000.00
                                                                            Separate Bond (if applicable): N/A
    1          2                            3                                      4                                5                6                      7

  Trans.    Check or         Paid To / Received From           Description of Transaction          Uniform       Deposit        Disbursement        Account Balance
   Date      Ref. #                                                                               Tran. Code       $                  $

                                                                                                  7100-001                                                      2,680.10

                                                                                         $3.92

                                                                                                  7100-001                                                      2,680.10

                                                                                         $3.95

                                                                                                  7100-001                                                      2,680.10

                                                                                         $1.11

                                                                                                  7100-001                                                      2,680.10

                                                                                         $4.98

                                                                                                  5800-001                                                      2,680.10

                                                                                         $1.00

 03/23/18    10267       Ciarlo, Nicolina                   Final Distribution. Paid per TFR      7100-000                                -44.14                2,724.24
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693). Check stopped. Unclaimed
                                                            funds paid into registry of the
                                                            court.
                                                            Stopped: check issued on
                                                            12/11/2017

 03/23/18    10268       Ciarlo, Nicolina                   Final Distribution. Paid per TFR      7100-000                                -18.80                2,743.04
                                                            (Dkt No. 692) and NFR (Dkt No.
                                                            693). Check stopped. Unclaimed
                                                            funds paid into registry of the
                                                            court.
                                                            Stopped: check issued on
                                                            12/11/2017

 04/20/18    10278       Clerk, United States Bankkruptcy   Unclaimed Distributions - POC#                                            2,716.63                    26.41
                         Court                              73, 75, 88, 146, 53, 97P, 107, 16,
                                                            24, 77, 87, 95, 98, 129, 148, 149.
                                                            Docket # 698.

                                                            Unclaimed Distribution -              6990-001                                                        26.41
                                                            Anderson, Madeleine

                                                                                       $362.70

                                                            Unclaimed Distribution - Deblaio      6990-001                                                        26.41
                                                            Carmen

                                                                                       $302.02

                                                            Unclaimed Distribution - Mango,       6990-001                                                        26.41
                                                            Paulette

                                                                                       $395.00

                                                            Unclaimed Distribution - Greenville   6820-001                                                        26.41
                                                            County Tax Comm

                                                                                        $36.40

                                                            Unclaimed Distribution -              5800-001                                                        26.41
                                                            McLennan County

                                                                                        $32.86

                                                            Unclaimed Distribution - NY State     5800-001                                                        26.41
                                                            Dept of Taxation

                                                                                    $1,179.91

                                                                                          Page Subtotals:               $0.00       $2,653.69        true


{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                   Case 11-21650-jrs                 Doc 700           Filed 06/21/18 Entered 06/21/18 14:13:22                                Desc
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                                                            Form 2                                                                                Exhibit 9
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                                            Cash Receipts And Disbursements Record
Case No.:              11-21650-JRS                                        Trustee Name:                       S. Gregory Hays (300320)
Case Name:             CLARKESVILLE LIQUIDATION INC.                       Bank Name:                          Rabobank, N.A.
Taxpayer ID #:         **-***9561                                          Account #:                          ******2366 Checking Account
For Period Ending: 05/18/2018                                              Blanket Bond (per case limit): $30,390,000.00
                                                                           Separate Bond (if applicable): N/A
    1          2                        3                                         4                                 5                6                     7

  Trans.    Check or        Paid To / Received From           Description of Transaction           Uniform       Deposit        Disbursement       Account Balance
   Date      Ref. #                                                                               Tran. Code       $                  $

                                                           Unclaimed Distribution - White         5800-001                                                     26.41
                                                           County Trustee

                                                                                       $54.00

                                                           Unclaimed Distribution - CIT           7100-001                                                     26.41
                                                           Technology Financing

                                                                                       $59.14

                                                           Unclaimed Distribution - Industrial    7100-001                                                     26.41
                                                           Scales and Systems

                                                                                          $9.54

                                                           Unclaimed Distribution - Wall, Lois    7100-001                                                     26.41
                                                           H

                                                                                       $55.17

                                                           Unclaimed Distribution - BDO           7100-001                                                     26.41
                                                           Dunwoody

                                                                                      $107.41

                                                           Unclaimed Distribution -               7100-001                                                     26.41
                                                           Bochicchio, Helen

                                                                                          $9.69

                                                           Unclaimed Distribution - Laser         7100-001                                                     26.41
                                                           SOS USA

                                                                                          $5.71

                                                           Unclaimed Distribution - Distasi,      7100-001                                                     26.41
                                                           Joseph

                                                                                       $44.14

                                                           Unclaimed Distribution - Ciarlo,       7100-001                                                     26.41
                                                           Nicolina

                                                                                       $44.14

                                                           Unclaimed Distribution - Ciarlo,       7100-001                                                     26.41
                                                           Nicolina

                                                                                       $18.80

 04/20/18    10279       Clerk, United States Bankruptcy   Combined small dividends per                                                   26.41                    0.00
                         Court                             TFR (Dkt # 692). POCs # 12, 22,
                                                           36, 37-3, 81,106, 117, 147, 153U-
                                                           2a &166. See also Dkt # 699.

                                                           Small Dividends - Fulton Co Tax        5800-001                                                         0.00
                                                           Commissioner

                                                                                          $1.00

                                                           Small Dividends - Nixon Power          7100-001                                                         0.00
                                                           Services

                                                                                          $4.47

                                                           Small Dividends - Gas South            7100-001                                                         0.00

                                                                                          $4.79

                                                           Small Dividends - Industrial           7100-001                                                         0.00
                                                           Fabrics Assoc


                                                                                           Page Subtotals:              $0.00            $26.41     true

{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
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                                                             Form 2                                                                                Exhibit 9
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                                             Cash Receipts And Disbursements Record
Case No.:                 11-21650-JRS                                    Trustee Name:                     S. Gregory Hays (300320)
Case Name:                CLARKESVILLE LIQUIDATION INC.                   Bank Name:                        Rabobank, N.A.
Taxpayer ID #:            **-***9561                                      Account #:                        ******2366 Checking Account
For Period Ending: 05/18/2018                                             Blanket Bond (per case limit): $30,390,000.00
                                                                          Separate Bond (if applicable): N/A
    1             2                      3                                       4                               5                    6                      7

  Trans.       Check or      Paid To / Received From          Description of Transaction        Uniform       Deposit           Disbursement        Account Balance
   Date         Ref. #                                                                         Tran. Code       $                     $



                                                                                       $3.95

                                                           Small Dividends - Robert Young      7100-001                                                             0.00

                                                                                       $1.11

                                                           Small Dividends - Burgon Tool       7100-001                                                             0.00
                                                           Steel

                                                                                       $0.52

                                                           Small Dividends - Crowley           7100-001                                                             0.00
                                                           Logistics

                                                                                       $3.92

                                                           Small Dividends - TSI Solutions     7100-001                                                             0.00

                                                                                       $1.03

                                                           Small Dividends - State Board of    7100-001                                                             0.00
                                                           Equalization

                                                                                       $0.64

                                                           Small Dividends - Verizon Wireles   7100-001                                                             0.00

                                                                                       $4.98

                                             COLUMN TOTALS                                                    1,383,431.95          1,383,431.95                 $0.00
                                                   Less: Bank Transfers/CDs                                     288,763.16                  0.00
                                             Subtotal                                                         1,094,668.79          1,383,431.95
        true
                                                   Less: Payments to Debtors                                                                0.00

                                             NET Receipts / Disbursements                                    $1,094,668.79         $1,383,431.95


                                                                                                                                                     false




{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                 Case 11-21650-jrs              Doc 700            Filed 06/21/18 Entered 06/21/18 14:13:22                        Desc
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                                                       Form 2                                                                        Exhibit 9
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                                       Cash Receipts And Disbursements Record
Case No.:           11-21650-JRS                                     Trustee Name:                   S. Gregory Hays (300320)
Case Name:          CLARKESVILLE LIQUIDATION INC.                    Bank Name:                      Rabobank, N.A.
Taxpayer ID #:      **-***9561                                       Account #:                      ******2366 Checking Account
For Period Ending: 05/18/2018                                        Blanket Bond (per case limit): $30,390,000.00
                                                                     Separate Bond (if applicable): N/A

                                       Net Receipts:                $3,927,821.68
                           Plus Gross Adjustments:                          $0.00
                         Less Payments to Debtor:                           $0.00
                 Less Other Noncompensable Items:                           $0.00

                                         Net Estate:                $3,927,821.68




                                                                                                       NET                      ACCOUNT
                                 TOTAL - ALL ACCOUNTS                             NET DEPOSITS    DISBURSEMENTS                 BALANCES
                                 **********7065 Money Market Account                        $2.50            $0.00                      $0.00

                                 **********7066 Checking Account                     $2,833,150.39            $2,544,389.73               $0.00

                                 ******2366 Checking Account                         $1,094,668.79            $1,383,431.95               $0.00

                                                                                     $3,927,821.68           $3,927,821.68                $0.00




UST Form 101-7-TDR (10 /1/2010)
